           Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 1 of 130




COZEN O’CONNOR
David J. Walton (PA #86019)
Leigh Ann Benson (PA #319406)
1650 Market Street, Suite 2800
Philadelphia, PA 19103
P: 215-665-2000
F: 215-665-2013
dwalton@cozen.com
lbenson@cozen.com

Attorneys for Defendants
The Middle East Forum,
Daniel Pipes, and Gregg
Roman

                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

    LISA BARBOUNIS                            :
                               Plaintiff,     :           CIVIL ACTION
    -vs-                                      :           NO. 2:19-cv-05030-JDW
                                              :
    THE MIDDLE EAST FORUM, GREGG              :
    ROMAN (individually), DANIEL PIPES        :
    (individually), and MATTHEW               :           TRIAL BY JURY
    BENNETT (individually),                   :
                              Defendants      :
                                              :
                                              :
                                              :

      DEFENDANTS THE MIDDLE EAST FORUM, MR. GREGG ROMAN, AND MR.
      DANIEL PIPES’ ANSWER TO PLAINTIFF’S CONSOLIDATED CIVIL ACTION
                  COMPLAINT WITH AFFIRMATIVE DEFENSES

           Defendants The Middle East Forum (“MEF”), Gregg Roman (“Mr. Roman”), and Daniel

Pipes (“Mr. Pipes”), (collectively, “Defendants”),1 by counsel, hereby file the foregoing Answer

with Affirmative Defenses and Counterclaims to the Consolidated Complaint of plaintiff Lisa

Barbounis (“Ms. Barbounis” or “Plaintiff”) and aver the following:



1
 Co-defendant Mr. Matthew Bennett will filed a separate Motion to Dismiss in lieu of an
answer.
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 2 of 130




                                       I.      PARTIES

       1.     Plaintiff Lisa Barbounis (“Plaintiff’ or “Ms. Barbounis”) is an adult individual

who resides in the Commonwealth of Pennsylvania.

       Answer: Admitted in part, denied in part. Defendants admit that the plaintiff in
       this action is Ms. Lisa Barbounis. Defendants are without knowledge as to
       Plaintiff’s residence and therefore the remainder of the allegation is denied.

       2.     Defendant Middle East Forum (“MEF”) is a business organization existing under

the laws of the Commonwealth of Pennsylvania with an address for the purposes of service 1650

Market Street, Suite 3600, Philadelphia, PA 19103.

       Answer: Admitted.

       3.     Defendant, Daniel Pipes is an adult individual who resides in the Commonwealth

of Pennsylvania with a business address for the purpose of service at 1650 Market Street, Suite

3600, Philadelphia, PA 19103.

       Answer: Admitted.

       4.     Defendant Greg Roman is an adult individual who resides in the Commonwealth

of Pennsylvania with a business address for the purpose of service at 1650 Market Street, Suite

3600, Philadelphia, PA 19103.

       Answer: Admitted.

       5.     Matthew Bennett is an adult individual who resides in the Commonwealth of

Pennsylvania with a business address for the purpose of service at 1650 Market Street, Suite

3600, Philadelphia, PA 19103.

       Answer: Denied.




                                                2
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 3 of 130




       6.      At all times relevant to this action, Defendant, Greg Roman, Defendant, Matthew

Bennett, and Defendant, Daniel Pipes aided and abetted under discrimination and harassment and

retaliation in the workplace to which Plaintiff was subjected by Defendants.

       Answer: Denied.

       7.      At all times relevant to this Civil Action, Defendant, Daniel Pipes, Defendant

Greg Roman, and Defendant Matthew Bennett were employees of Defendant, The Middle East

Forum, and held supervisory authority over Plaintiff, Lisa Barbounis during Plaintiff’s

employment for Defendants.

       Answer: Admitted in part, denied in part. It is admitted only that at times, Mr.
       Pipes, Mr. Roman, and Mr. Bennett were employees of MEF. It is admitted that at
       times Mr. Roman and Mr. Pipes had supervisory authority over Plaintiff. It is
       denied that at all time relevant Mr. Roman had supervisory authority over Plaintiff.
       Mr. Roman did not have supervisory authority over Plaintiff after November 5,
       2018. It is denied that at all relevant times Mr. Bennett had supervisory authority
       over Plaintiff.

       8.      Defendant, Daniel Pipes is the President of The Middle East Forum and held

supervisory authority over Plaintiffs, Lisa Barbounis.

       Answer: Admitted.

       9.      Defendant, Greg Roman is the Director of The Middle East Forum and held

supervisor authority over Plaintiff, Lisa Barbounis.

       Answer: Admitted in part, denied in part. It is admitted that Mr. Roman held
       supervisory authority over Plaintiff until November 1, 2018. It is denied that Mr.
       Roman held supervisory authority over Plaintiff after November 1, 2018.

       10.     Matthew Bennett holds the position of Director of Development for The Middle

East Forum and held supervisory authority of Plaintiff, Lisa Barbounis.

       Answer: Admitted in part, denied in part. It is admitted only that at times, Mr.
       Bennett held supervisory authority over Plaintiff. It is denied that Mr. Bennett
       holds the position of Director of Development for The Middle East Forum.


                                                 3
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 4 of 130




                                II.     NATURE OF THE CASE

       11.     Plaintiff complains pursuant to Title VII of the Civil Rights Act of 1964, as

codified, 42 U.S.C. §§ 2000e to 20003-17 (amended in 1972, 1978, by the Civil Rights Act of

1991, Pub. L. No. 102-166) (“Title VII”); Title 43 PS Labor § 955, the Pennsylvania Human

Relations Act, as amended, 43 P.S. §§ 951, et. seq. (“PHRC”), under the laws of the

Commonwealth of Pennsylvania; and under the Philadelphia Fair Practices Ordinance, § 9-1100

et. seq. (“PFPO”) and seeks damages to redress injuries Plaintiff suffered as a result of

Defendants’ discrimination, harassment, retaliation and the hostile work environment which

ultimately led to Plaintiffs unlawful termination from her employment for Defendants.

Accordingly, Plaintiff brings this Civil Action to redress injuries Plaintiff suffered as a direct

result of violations of federal laws, the laws of the Commonwealth of Pennsylvania and the laws

of the City of Philadelphia and seeks damages to redress the injuries Plaintiff has suffered as a

result of being discriminated against on the basis of her sex and gender, sexually harassed,

sexually assaulted, forced to endure a hostile work environment, and retaliated against by her

employer for reporting such discrimination and harassment.

       Answer: Admitted in part, denied in part. It is admitted only that Plaintiff brings
       claims under Title VII of the Civil Rights Act of 1964. It is denied that Plaintiff is
       bringing claims under the PHRC and PFPO. Defendants further deny the
       remainder of this allegation and deny that Plaintiff was subject to any of the
       conduct complained of and deny all liability.

                             III.     JURISDICTION AND VENUE

       12.     This action involves a Question of Federal Law under Title VII of the Civil Rights

Act of 1964. The honorable Court will have supplemental jurisdiction over the Commonwealth

Law and Municipal Law Causes of Action.

       Answer: Admitted in part, denied in part. It is admitted that this action involves a
       question of federal law under Title VII of the Civil Rights Act of 1964. As Plaintiff



                                                  4
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 5 of 130




       has not alleged claims under Pennsylvania and municipal common law, the
       remainder of this allegation is denied. By way of further response, Plaintiff has
       alleged two tort claims which this Court may exercise supplemental jurisdiction
       over. Defendants are not challenging Plaintiff’s venue selection.

       13.     Plaintiffs causes of action under the Pennsylvania Human Relations Act and the

Philadelphia Fair Practices Ordinance are ripe for suit as it has been more than one (1) year since

Plaintiff’s Charge of Discrimination was dual filed with the Pennsylvania Human Relations

Commission and the Philadelphia Commissions on Human Relations.

       Answer: Denied as a conclusion of law.

       14.     Venue is proper in the Eastern District of Pennsylvania as Plaintiff was employed

by Defendants and worked in the City of Philadelphia in the Commonwealth of Pennsylvania

where the discrimination, harassment and hostile work environment complained of occurred.

       Answer: Admitted in part, denied in part. It is admitted only that venue is proper
       In this district. Defendants are not challenging Plaintiff’s venue selection. It is
       denied that Plaintiff was subject to the complained of discrimination, harassment,
       and a hostile work environment.

       15.     On or around June 20, 2019, Plaintiff, Lisa Barbounis filed a Charge of

Discrimination with the Equal Employment Opportunity Commission (“EEOC”) against

Defendants as set forth herein. Plaintiffs Charge of Discrimination was dual filed with the

Pennsylvania Human Relations Commission and the Philadelphia Commission on Human

Relations.

       Answer: Admitted.




                                                 5
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 6 of 130




       16.    On or about December 31, 2019, Plaintiff, Lisa Barbounis filed a second Charge

of Discrimination with the Equal Employment Opportunity Commission which was dual filed

with the Pennsylvania Human Relations Commission and the Philadelphia Commission on

Human Relations.

       Answer: Admitted, upon information and belief.

       17.    The EEOC issued a Dismissal and Notice of Rights pursuant to both Charges of

Discrimination filed at the EEOC.

       Answer: Admitted, upon information and belief.

       18.    Both Civil Action Complaints were filed within ninety (90) days of the date with

Plaintiff received the Dismissal and Noticed of Rights from the EEOC.

       Answer: Denied.

                                IV.     MATERIAL FACTS

       19.    Plaintiff, Lisa Barbounis began her employment for Defendant, The Middle East

Forum (“MEF”) sometime around October 16, 2017.

       Answer: Admitted.

       20.    Plaintiff was hired as an Executive Liaison and began her employment at MEF

working with supervisors, Defendant, Daniel Pipes, Defendant, Greg Roman, and Defendant,

Matthew Bennett.

       Answer: Admitted in part, denied in part. It is admitted only that Plaintiff was
       hired as an Executive Liaison and she began her employment under the supervisory
       authority of Mr. Pipes and Mr. Roman. It is denied that Mr. Bennett was Plaintiff’s
       supervisor at any time.




                                              6
          Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 7 of 130




          21.   From the onset of her employment, Defendant, Greg Roman subjected Plaintiff,

Lisa Barbounis to discrimination and harassment in the workplace based upon Plaintiff’s sex and

gender.

          Answer: Denied.

          22.   Defendant, Greg Roman sexually harassed Plaintiff, Lisa Barbounis and

propositioned Plaintiff, Lisa Barbounis for sex and made unwelcome unwanted sexual advances.

          Answer: Denied.

          23.   Defendant, Greg Roman has visited unwelcome, inappropriate, lewd, unwelcome

sexual advances upon at least ten (10) women during his employment for Defendants.

          Answer: Denied.

          24.   Defendant, Daniel Pipes is aware of Defendant, Greg Roman’s inappropriate,

lewd, unwelcome sexual harassment of female employees and female colleagues and at all times

material to this civil action has protected, shielded and indemnified Defendant, Greg Roman for

consequences for Defendant Greg Roman’s unlawful inappropriate sexual conduct.

          Answer: Denied.

          25.   Accordingly Defendant, Daniel Pipes has permitted, condoned, allowed and

sanctioned the discrimination, harassment and unwelcome sexual misconduct of Defendant, Greg

Roman.

          Answer: Denied.




                                               7
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 8 of 130




       26.     Plaintiff claims violations of the continuous violations doctrine as Plaintiff was

subjected to severe and pervasive discrimination and harassment in the workplace beginning

within months of when Plaintiff, Lisa Barbounis began her employment for Defendants which

was around October 2017.

       Answer: Admitted in part, denied in part. It is admitted only that this allegation
       summarizes Plaintiff’s action. Defendants deny all liability and deny that Plaintiff
       was subjected to severe and pervasive discrimination and harassment in the
       workplace.

       27.     Defendant, Greg Roman’s unwelcome sexual harassment of Plaintiff, Lisa

Barbounis began sometime around October 2017 and continued until within 300 days of when

Plaintiff filed a Charge of Discrimination with the EEOC sometime around June 2019.

       Answer: Denied.

       28.     Defendant Greg Roman began a campaign of sexual harassment and abuse to

which Plaintiff, Lisa Barbounis was subjected.

        Answer: Denied.

       29.     This campaign of sexual harassment and abuse began within months of when

Plaintiff began her employment.

       Answer: Denied.

       30.     Defendant Greg Roman continued his campaign of sexual harassment and abuse

from sometime around December 2017 until November 2018 when Defendant, Greg Roman was

forced to discontinue visited to MEF’s Philadelphia office.

       Answer: Denied.




                                                 8
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 9 of 130




       31.    Defendant, Daniel Pipes notified Defendant, Greg Roman that to protect the

safety of the female staff, Defendant, Greg Roman was no longer permitted to visit the

Philadelphia office and MEF headquarters.

       Answer: Denied.

       32.    Defendant Greg Roman was forced to discontinue working at the MEF

headquarters in Philadelphia because of the severe and pervasive discrimination and harassment

to which he subjected Plaintiff, Lisa Barbounis and other female employees who worked for

MEF.

       Answer: Denied.

       33.    Defendant, Greg Roman’s campaign of sexual harassment and abuse started

sometime around December 2017 and continued for about one year until November 2018. This

one year period is the continuous period during which Plaintiff, Lisa Barbounis was subjected to

a severe and pervasive, hostile work environment.

       Answer: Denied.

       34.    The discrimination did not stop and start but occurred on a regular and continuous

basis from December 2017 until December 2018.

       Answer: Denied.

       35.    Defendant, Greg Roman initiated a campaign of continuous sexual abuse and

sexual harassment to which Plaintiff, Lisa Barbounis was subjected during her employment for

Defendants.

       Answer: Denied.




                                               9
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 10 of 130




       36.     Plaintiff filed her Charge of Discrimination June 20, 2019. A theory predicated

upon the continuous violations doctrine will include all acts that contributed to the hostile work

environment as long as the last act occurred within the statutory period. Plaintiff’s statute of

limitations for filing her Charge of Discrimination under federal protections and the Philadelphia

Fair Practices Ordinance (“PFPO”) is three-hundred (300) days.

       Answer: Denied as a conclusion of law.

       37.     Three-hundred days prior to June 20, 2019 is August 25, 2018. Defendant Greg

Roman’s continuous campaign of sexual harassment and abuse far beyond the August 25, 2018

statute of limitations and did not end until November 2018.

       Answer: Denied.

       38.     Accordingly, Plaintiff, Lisa Barbounis claims violations of the continuing

violations doctrine and includes all acts of sexual harassment and abuse that occurred beginning

December 2017 and continuing until November 2018 which contributed to the hostile work

environment.

        Answer: Denied.

       39.     Defendant, Greg Roman’s comments and conduct may have started before the

August 25, 2019 statutory period, however, the campaign of sexual harassment and abuse

continued without pause until November 2018 when Defendant, Greg Roman was forced to stop

visiting Middle East Forum headquarters.

       Answer: Denied.




                                                 10
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 11 of 130




        40.   Defendant, Greg Roman could no longer visit MEF headquarters because of the

severe and pervasive sexual harassment to which Plaintiff, Lisa Barbounis was subjected on a

continuous basis without pause from December 2017 until November 2018.

        Answer: Denied.

        41.   Within this period of time, Defendant Greg Roman spoke to Plaintiff, Lisa

Barbounis about sex and sexually inappropriate topics.

        Answer: Denied.

        42.   Defendant, Greg Roman asked Plaintiff, Lisa Barbounis whether she would “be

with” a Jewish man.

        Answer: Denied.

        43.   Defendant, Greg Roman asked Plaintiff what time of men she liked to date.

        Answer: Denied.

        44.   Defendant, Greg Roman asked Plaintiff what type of men she liked and what her

type was.

        Answer: Denied.

        45.   Defendant, Greg Roman asked Plaintiff to describe the men she liked to hook up

with.

        Answer: Denied.

        46.   Defendant, Greg Roman’s attempts to engage Plaintiff, Lisa Barbounis in

conversations about romantic and sexual relationships occurred on a regular basis and was part

of Defendant, Greg Roman’s sexual advances to which he subjected Plaintiff on a regular basis

beginning December 2017 and ending November 2018.

        Answer: Denied.



                                               11
          Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 12 of 130




          47.   Defendant, Greg Roman invited Plaintiff, Lisa Barbounis to his home on several

occasions beginning prior to August 25, 2018 and extending until November 2018 attempted to

lure Plaintiff, Lisa Barbounis to his home.

          Answer: Denied.

          48.   Defendant, Greg Roman has a modus operandi where he attempts to lure women

to his home or hotel room under the pretense of engaging in work and then uses the encounter to

compel sex or make inpatriate unwelcome sexual advances.

          Answer: Denied.

          49.   Defendant, Greg Roman sent text messages to Plaintiff late at night and made

sexually suggestive and unwelcome comments.

          Answer: Denied.

          50.   This conduct occurred on a continuous basis and extended from prior to August

25, 2018 until November 2018.

          Answer: Denied.

          51.   Defendant, Greg Roman forced Plaintiff to sit with him alone in his office and

watch videos.

          Answer: Denied.

          52.   Defendant, Greg Roman would not simply send Plaintiff a link to a video and

suggest or request that Plaintiff viewed the video. Defendant, Greg Roman ordered Plaintiff to

get a chair and bring it behind his desk so that they had to sit next to one-another to watch the

videos.

          Answer: Denied.




                                                 12
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 13 of 130




        53.     Defendant, Greg Roman leered at Plaintiff in a sexually suggestive manner and

sat inappropriately close to Plaintiff and stared at Plaintiff.

        Answer: Denied.

        54.     Defendant, Greg Roman’s sexual advances to which he subjected Plaintiff on a

regular basis began December 2017 and ending November 2018.

        Answer: Denied.

        55.     Defendant, Greg Roman stared at Plaintiff’s backside and spoke to Plaintiff in a

sexually inappropriate manner.

        Answer: Denied.

        56.     Defendant, Greg Roman’s sexual advances to which he subjected Plaintiff on a

regular basis began December 2017 and ending November 2018.

        Answer: Denied.

        57.     Defendant, Greg Roman invited Plaintiff Lisa Barbounis to to spend time with

him socially. This conduct started December 2017 and ended November 2018.

        Answer: Denied as stated. By way of further response, Mr. Roman and Ms.
        Barbounis engaged in social settings outside of the Middle East Forum offices. Most
        often, Barbounis initiated the social interactions and invited Mr. Roman to socialize
        outside of the office. At other times, Mr. Roman initiated the social activities. At no
        time was Plaintiff pressured or forced to socialize with Mr. Roman against her own
        wishes or free will. Ms. Barbounis invited Mr. Roman on multiple occasions to
        events outside of the office including Happy Hours, Bowling, Children’s Birthday
        Parties, and Shopping Trips.

        58.     In April 2018, Defendant, Greg Roman sexually assaulted Plaintiff, Lisa

Barbounis when he stuck his foot under Plaintiff’s rear-end and made an unwelcome sexual

suggestion.

        Answer: Denied.




                                                   13
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 14 of 130




       59.    Defendant, Greg Roman’s physical use of force was aimed at the same objectives

which Defendant, Greg Roman had tried to achieve from December 2017 until November 2018.

       Answer: Denied.

       60.     Defendant, Greg Roman tried once again to proposition Plaintiff however in

April 2018, Defendant, Greg Roman used force to do so.

       Answer: Denied.

       61.    Defendant, Greg Roman also subjected Plaintiff, Lisa Barbounis to unwelcome

touching in March 2018 at the AIPAC Conference.

       Answer: Denied.

       62.    Defendant, Greg Roman’s unwelcome sexual contact in March 2018 and April

2018 was part of a pattern of sexual harassment and abuse that began December 2017 and

continued without pause until November 2018.

       Answer: Denied.

       63.    Importantly, the only reason that Defendant, Greg Roman stopped the unwelcome

sexual harassment and sexual abuse in November 2018 was because Defendant, Greg Roman

was no longer allowed at the MEF Philadelphia headquarters because of the risk of harm that

Defendant, Greg Roman’s presence had related to the female staff.

       Answer: Denied.

       64.    Defendant, Greg Roman was ordered to discontinue all visits to the MEF

Philadelphia headquarters immediately in November 2018 to protect the safety of female

employees who had to work at MEF’s Philadelphia offices.

       Answer: Denied.




                                               14
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 15 of 130




       65.    After the March 2018 assault, Defendant, Greg Roman’s conduct and comments

only increased.

       Answer: Denied.

       66.    Defendant, Greg Roman continued the campaign of sexual abuse and harassment

through March, into April 2018 and until November 2018.

       Answer: Denied.

       67.    Defendant, Greg Roman’s campaign of sexual abuse and harassment only stopped

when Plaintiff, Lisa Barbounis and several coworkers reported Defendant, Greg Roman’s severe

and pervasive sexual harassment.

       Answer: Denied.

       68.    Defendant, Greg Roman was forced to discontinue all visits to MEF headquarters

as a direct result of his continuous and nonstop campaign of sexual harassment and abuse to

which Plaintiff, Lisa Barbounis was subjected by Defendant, Greg Roman.

       Answer: Denied.

       69.    Defendant, Greg Roman is very high up in the organization of the Middle East

Forum and currently holds the position of Director of the Middle East Forum.

       Answer: Admitted in part, denied in part. It is admitted only that Mr. Roman

       currently holds the position of Director of the Middle East Forum.

       70.    Defendant, Greg Roman is also a corporate officer of the Middle East Forum.

       Answer: Admitted.

       71.    At all times relevant to this civil action Defendant, Greg Roman held the position

of Director of the Middle East Forum.

       Answer: Admitted.



                                              15
         Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 16 of 130




         72.   As the Director of the Middle East Form, Defendant, Greg Roman was the

penultimate person in charge of the Middle East Forum. Accordingly, Defendant, Greg Roman

along with Defendant, Daniel Pipes, ran and managed the Middle East Forum.

         Answer: Denied.

         73.   Defendant, Greg Roman was and continues to be so high up in the organization

that the only person to whom Defendant, Greg Roman reports is Defendant, Daniel Pipes.

         Answer: Admitted in part, denied in part. It is admitted only that Mr. Roman
         reports to Mr. Pipes. The remainder of this allegation is denied.

         74.   Defendant, Greg Roman is considered by Defendant, Daniel Pipes to be crucial to

the operations and success of the Middle East Forum.

         Answer: Denied.

         75.   Defendant, Greg Roman has the ability to create policy for the Middle East

Forum.

         Answer: Denied.

         76.   Defendant, Greg Roman must be considered a proxy and all discrimination and

harassment to which Plaintiff, Lisa Barbounis was subjected including the sexual assault, sexual

misconduct, sexual harassment, gender and sex discrimination and retaliation by Defendant,

Greg Roman must be held to a proxy-liability standard as the harasser-supervisor is a proxy for

the Middle East Forum.

         Answer: Denied.




                                               16
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 17 of 130




       77.     Defendant, Daniel Pipes is currently the President of the Middle East Forum.

There are no individuals employed by the Middle East Forum who hold positions above

Defendant, Daniel Pipes.

       Answer: Admitted.

       78.     Defendant, Greg Roman and Defendant. Daniel Pipes are responsible for

developing, enacting, and enforcing all policies, procedures, protocols employed to operate the

Middle East Forum.

       Answer: Denied.

       79.     At all times relevant to this Civil Action Defendant, Daniel Pipes was the

President of The Middle East Forum.

       Answer: Admitted.

       80.     Sometime around the weekend of March 1 through March 3, 2018, Plaintiff, Lisa

Barbounis and coworker, Patricia McNulty (“Ms. McNulty”) attended a conference in

Washington D.C.

       Answer: Denied.

       81.     The conference in Washington D.C., which Ms. Barbounis and Ms. McNulty

attended was called the American Israel Public Affairs Committee (“AIPAC”).

       Answer: Denied.




                                               17
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 18 of 130




       82.      Other employees of the Middle East Forum in attendance at the AIPAC

Conference included Defendant, Greg Roman, Defendant, Mathew Bennett, and coworker,

Marnie Meyer.

       Answer: Admitted in part, denied in part. It is admitted only that Mr. Roman and
       Mr. Bennett attended the AIPAC conference. Ms. Meyer was present in
       Washington D.C. at the time the conference was occurring, but she did not attend
       the conference.

       83.      Defendant, Greg Roman and Defendant, Mathew Bennett booked and shared an

Airbnb in Washington D.C. for the AIPAC Conference.

       Answer: Admitted.

       84.      Plaintiff, Lisa Barbounis booked a hotel room for the AIPAC Conference.

       Answer: Denied. Defendants lack knowledge or information sufficient to form a
       belief about the truth of this allegation and it is therefore denied.

       85.      The other female employees of the MEF who attended the AIPAC Conference

also booked hotel rooms. This includes Patricia McNulty and Mamie Meyer.

       Answer: Denied. Defendants lack knowledge or information sufficient to form a
       belief about the truth of this allegation and it is therefore denied.

       86.      After dinner, Defendant, Greg Roman invited Grantees from The Pinsker Center

and a writing fellow named Raheem Kassam back to the Airbnb which was shared by Defendant,

Greg Roman and Defendant, Matthew Bennett.

       Answer: Admitted in part, denied in part. It is admitted that other, third-parties
       were present at the AirBnB shared by Mr. Roman and Mr. Bennett. It is denied
       that Mr. Roman invited them.

       87.      Defendant, Greg Roman also asked Plaintiff, Lisa Barbounis, Patricia McNulty,

and Marnie Meyer to come back to the Airbnb that he had booked.

       Answer: Denied.



                                               18
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 19 of 130




       88.    That evening, while at the Airbnb, Defendant, Greg Roman positioned himself on

the couch between Plaintiff, Lisa Barbounis and coworker, Patricia McNulty.

       Answer: Denied.

       89.    Defendant, Greg Roman put his arms around Plaintiff, Lisa Barbounis and

coworker, Patricia McNulty.

       Answer: Denied.

       90.    Defendant, Greg Roman grabbed coworker, Patricia McNulty by her upper thigh

and violently yanked coworker, Patricia McNulty onto his lap. Defendant, Greg Roman put his

hand on Patricia McNulty’s upper thigh and rear-end area in order to lift Patricia McNulty up

and place Patricia McNulty on Defendant, Greg Roman’s lap.

       Answer: Denied.

       91.    Defendant, Greg Roman then began whispering inappropriate sexual advances in

coworker, Patricia McNulty’s ear.

       Answer: Denied.

       92.    Defendant, Greg Roman attempted to yank Plaintiff, Lisa Barbounis toward him

as well.

       Answer: Denied.

       93.    Plaintiff, Lisa Barbounis was further away on the couch and therefore in a better

position to resist Defendant, Greg Roman’s attempt to pull Plaintiff, Lisa Barbounis toward

Defendant, Greg Roman.

       Answer: Denied.




                                               19
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 20 of 130




       94.    Alternatively, Defendant, Greg Roman picked coworker, Patricia McNulty up by

her upper thigh and rear end area and aggressively placed Patricia McNulty on his lap.

       Answer: Denied.

       95.    Defendant, Greg Roman is a large man and used his size and height in his violent

and aggressive interactions with female employees who Defendant, Greg Roman supervised.

       Answer: Denied.

       96.    Defendant, Greg Roman used his size to intimidate and sometimes overpower

female employees who Defendant, Greg Roman was in charge of as Director of the MEF.

       Answer: Denied.

       97.    Plaintiff, Lisa Barbounis was present when Defendant, Greg Roman picked

coworker, Patricia McNulty up and placed her on his lap.

       Answer: Denied.

       98.    Plaintiff, Lisa Barbounis witnessed firsthand Defendant, Greg Roman’s violent

and aggressive sexual assault of coworker, Patricia McNulty.

       Answer: Denied.

       99.    Plaintiff, Lisa Barbounis was also subjected to Defendant, Greg Roman’s violent

use of force to compel sexual behavior or make unwelcome sexual advances.

       Answer: Denied.

       100.   Plaintiff, Lisa Barbounis tried to pull away from Defendant Greg Roman.

       Answer: Denied.

       101.   Coworker, Patricia McNulty tried to pull away and resisted Defendant, Greg

Roman.

       Answer: Denied.


                                               20
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 21 of 130




       102.    Defendant, Greg Roman used his size, height and strength to overpower a female

employee who worked for the MEF named Patricia McNulty.

       Answer: Denied.

       103.    Defendant, Greg Roman used force and did not allow Patricia McNulty to get up

or escape his grip.

       Answer: Denied.

       104.    Defendant, Greg Roman then began whispering in Patricia McNulty’s ear.

       Answer: Denied.

       105.    Patricia McNulty resisted, and made it clear that she was rejecting Defendant,

Greg Roman’s inappropriate sexual misconduct and sexual advances.

       Answer: Denied.

       106.    Thereafter, Plaintiff, Lisa Barbounis witnesses Defendant, Greg Roman get up

from the couch and leave the room.

       Answer: Denied.

       107.    Defendant, Greg Roman sexually assaulted Plaintiffs coworker, Patricia McNulty

at the AIPAC conference which occurred in Washington D.C., when Defendant, Greg Roman

violently yanked Patricia McNulty across the couch, onto his lap, and whispered inappropriate,

unwelcome sexual advances in Ms. McNulty’s ear.

       Answer: Denied.

       108.    Defendant, Greg Roman put his hands on coworker, Patricia McNulty’s upper

thigh and rear-end area and used force to overpower Patricia McNulty.

       Answer: Denied.




                                               21
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 22 of 130




       109.      During, Plaintiffs employment for MEF, Defendant, Greg Roman subjected

Plaintiff, Lisa Barbounis to severe and pervasive discrimination and harassment based upon

Plaintiffs sex and gender.

       Answer: Denied.

       110.      Defendant, Greg Roman asked Plaintiff, Lisa Barbounis to visit his home to work

at night time.

       Answer: Denied.

       111.      Defendant, Greg Roman called and texted Plaintiff, Lisa Barbounis late at night.

       Answer: Admitted. By way of further response, given the nature of the Middle
       East Forum’s work and the multiple time zones they work in, it is not uncommon
       for employees and colleagues to communicate outside of traditional working hours.
       Ms. Barbounis initiated as many, if not more, text changes with Mr. Roman after
       hours.

       112.      Defendant, Greg Roman made sexually suggestive, unwelcome comments to

Plaintiff, Lisa Barbounis.

       Answer: Denied.

       113.      Working with Defendant, Greg Roman meant that Plaintiff, Lis Barbounis would

have to contend with Defendant, Greg Roman’s inappropriate sexually suggestive conduct and

comments.

       Answer: Denied.

       114.      Employees who have worked with Defendant, Greg Roman who also have stated

that working with Defendant, Greg Roman meant having to contend with Defendant, Greg

Roman’s inappropriate conduct and comments including sexually inappropriate conduct and

comments include but is in no way limited to: (1) Plaintiff, Lisa Barbounis, (2) Patricia McNulty,

(3) Mamie Meyer, (4) Tiffany Lee, (5) Caitriona Brady, (6) Delaney Yonchek, (7) Leah


                                                 22
          Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 23 of 130




Merville, (8) Alana Goodman, (9) Eman Patel, (10) Samantha Mandalas, (11) Laura Frank, (12)

Lara (last name unknown), (13) Rosie (last name unknown), and (14) Gabrielle Bloom.

          Answer: Denied.

          115.   At all times relevant to this civil action, Defendant, Greg Roman was Plaintiff,

Lisa Barbounis’s direct supervisor and used his supervisory and proxy authority to subject

Plaintiff to unwelcome sex and gender discrimination.

          Answer: Denied.

          116.   At all times relevant to this civil action, Defendant, Greg Roman was Plaintiff,

Lisa Barbounis’s direct supervisor and used his supervisory and proxy authority to subject

Plaintiff to unwelcome sexual harassment.

          Answer: Denied.

          117.   At all times relevant to this civil action, Defendant, Greg Roman was Plaintiff,

Lisa Barbounis’s direct supervisor and used his supervisory and proxy authority to subject

Plaintiff to unwelcome sexual misconduct including unwelcome sexual contact of a physical

nature.

          Answer: Denied.

          118.   At all times relevant to this civil action, Defendant, Greg Roman was Plaintiff,

Lisa Barbounis’s direct supervisor and used his supervisory and proxy authority to subject

Plaintiff to unwelcome sexual advances including quid pro quo sexual suggestions which

Plaintiff, Lisa Barbounis rejected.

          Answer: Denied.




                                                  23
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 24 of 130




       119.      Plaintiff, Lisa Barbounis’s rejection of Defendant, Greg Roman only made

Plaintiffs work environment more hostile as Defendant, Greg Roman reacted to Plaintiffs

rejections by using his proxy authority to retaliate against Plaintiff, Lisa Barbounis with tangible

employment actions.

       Answer: Denied.

       120.      Defendant, Greg Roman threatened Plaintiff, Lisa Barbounis’s job with the MEF.

       Answer: Denied.

       121.      The sexual harassment to which Plaintiff, Lisa Barbounis was subjected during

her employment for MEF by Defendant, Greg Roman created a hostile work environment for

Plaintiff, Lisa Barbounis.

       Answer: Denied.

       122.      Defendant, Greg Roman subjected almost every female employee who he

supervised at MEF to unwelcome sexual harassment and discrimination and harassment in the

workplace due to sex and gender.

       Answer: Denied.

       123.      Defendant, Greg Roman specifically used his position as a proxy for MEF to

recruit very attractive female employees and prey upon his female staff by subjecting the female

staff to unwelcome sexual advances.

       Answer: Denied.

       124.      Before Plaintiff, Lisa Barbounis began her employment at MEF, there were two

female employees of MEF named Laura Frank (“Laura”) and Lara (last name unknown at this

time) (“Lara).

       Answer: Admitted.


                                                 24
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 25 of 130




       125.   Laura and Lara were employees of MEF. Their supervisors included Defendant,

Daniel Pipes and Defendant, Greg Roman.

       Answer: Admitted.

       126.   Defendant, Greg Roman was the direct supervisor of Laura Frank and Lara (last

name unknown).

       Answer: Admitted.

       127.   Laura and Lara were subjected to severe and pervasive discrimination and

harassment due to their sex and gender.

       Answer: Denied.

       128.   Laura and Lara were subjected to retaliation when they opposed and/or reported

the severe and pervasive discrimination to which Laura and Lara were subjected during their

employment at MEF.

       Answer: Denied.

       129.   Laura and Lara discussed and considered initiating legal action to vindicate their

rights due to the severe and pervasive discrimination and harassment in the workplace to which

they were subjected during their employment at MEF.

       Answer: Denied.

       130.   Laura and Lara used instant Google messaging to discuss the unwelcome sexual

harassment to which Defendant, Greg Roman subjected Laura and Lara daring their employment

at MEF.

       Answer: Denied.




                                               25
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 26 of 130




       131.    Defendant, Greg Roman broke into Laura and Lara’s computers after work one

evening and discovered, by reading their private Google instant messaging, that Laura and Lara

were currently discussing their legal options due to Defendant, Greg Roman’s discrimination and

harassment in the workplace due to sex and gender.

       Answer: Denied.

       132.    Defendant, Greg Roman discussed the instant Google messages between Laura

and Lara with Defendant, Daniel Pipes.

       Answer: Denied.

       133.    Defendant, Greg Roman and Defendant, Daniel Pipes decided to terminate both

Laura and Lara’s employment.

       Answer: Denied as stated. Both Laura and Lara entered into separation
       agreements with MEF.

       134.    The termination of Laura Frank and Lara (last name unknown) created empty

positions that MEF had to staff.

       Answer: Admitted in part, denied in part. It is admitted that after Ms. Frank and
       Lara were no longer employed at MEF, MEF had to hire additional employees. It is
       denied that their departure created “empty positions.” By way of further response,
       MEF made the strategic decision to restructure several roles. After Ms. Frank and
       Lara’s departure, the position of Assistant was eliminated and a new position of
       Liaison was created.

       135.    Soon after Laura and Lara’s termination, Defendant, MEF hired Plaintiff, Lisa

Barbounis.

       Answer: Denied. By way of further response, Plaintiff was not hired until five
       months after Ms. Frank and Lara’s departure from MEF.




                                              26
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 27 of 130




       136.    Defendant, Daniel Pipes and Defendant, Greg Roman refused to investigate Laura

and Lara’s feelings that they were subjected to unlawful conduct - sexual harassment in their

employment for MEF.

       Answer: Denied.

       137.    Defendants refused to initiate remedial measures as a result of Laura and Lara’s

instant Google messaging. MEF did nothing to discover and remedy the severe and pervasive

discrimination and harassment in the workplace.

       Answer: Denied.

       138.    Defendant, Daniel Pipes and Defendant, Greg Roman have initiated, implemented

and enforced policies which operate to frustrate the congressional intent of federal, state and city

anti-discrimination laws enacted to protect female employees from discrimination and

harassment in the workplace.

       Answer: Denied.

       139.    Daniel Pipes’ objectives, policies and procedures have always been to protect

Defendant, Greg Roman, despite ongoing continued allegations and reports of sexual harassment

involving Defendant, Greg Roman.

       Answer: Denied.

       140.    Daniel Pipes has ignored, disregarded, and refused to consider protecting the

female employees who worked at the MEF.

       Answer: Denied.




                                                 27
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 28 of 130




       141.    Accordingly Daniel Pipes has expressly communicated to Defendant, Greg

Roman, Defendant, MEF and Defendant, Daniel Pipe’s policy and practice to allow, sanction,

permit and condone Defendant, Greg Roman’s discrimination and harassment of the female

employees who work at MEF.

       Answer: Denied.

       142.    Defendant, Greg Roman’s unlawful conduct and comments as Director of the

MEF has occurred with express authorization from Defendant, MEF and Daniel Pipes.

       Answer: Denied.

       143.    This authorization has resulted in female employees of MEF being subjected to

severe and pervasive sexual harassment, sexual assaults, sexual misconduct, quid pro quo sexual

harassment, and discrimination and harassment based on sex and gender.

       Answer: Denied.

       144.    Laura Frank and Lara (last name unknown) were unlawfully terminated in

retaliation for discussing and considering reporting Defendant, Greg Roman’s discrimination and

harassment in the workplace.

       Answer: Denied.

       145.    Laura and Lara were simultaneously terminated from their employment with MEF

due to their sex and gender and in retaliation for opposing and reporting discrimination and

harassment in the workplace.

       Answer: Denied.




                                               28
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 29 of 130




       146.    Plaintiff, Lisa Barbounis began her employment soon after Laura and Lara were

unlawfully terminated from their employment by Defendant, Greg Roman, Daniel Pipes and

Defendant, MEF.

       Answer: Denied.

       147.    Daniel Pipes has a history of discriminatory conduct toward women based upon

their sex and gender.

       Answer: Denied.

       148.    Defendant, Greg Roman also has a history of discrimination and harassment of

women based on their sex and gender.

       Answer: Denied.

       149.    Female employees who worked with Daniel Pipes have been subjected to ridicule,

abuse, discrimination, and harassment due to their sex and gender.

       Answer: Denied.

       150.    Rosie (last name unknown) (“Rosie”) was a female employee who worked at The

Middle East Forum.

       Answer: Denied.

       151.    Rosie worked at The Middle East Forum about one year before Plaintiff, Lisa

Barbounis.

       Answer: Denied.

       152.    Defendant, Greg Roman asked Rosie to transition to a position as an assistant to

Greg Roman.

       Answer: Denied.




                                               29
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 30 of 130




       153.   Defendant, Greg Roman unlawfully targeted and terminated Rosie’s employment

due to Rosie’s membership in a protected class with the authorization, consent, knowledge, and

permission of Daniel Pipes.

       Answer: Denied.

       154.   Rosie abandoned her employment for MEF to avoid working closely with

Defendant, Greg Roman.

       Answer: Denied.

       155.   Prior to leaving her employment for MEF, Rosie said, “I will be dead before

working for Greg Roman.”

       Answer: Denied. Defendants lack knowledge or information sufficient to form a
       belief about the truth of this allegation and it is therefore denied.

       156.   Rosie refused to work with Defendant, Greg Roman due to the severe and

pervasive discrimination and harassment of female employees and the hostile work environment

which Defendant, Greg Roman created for his female staff.

       Answer: Denied.

       157.   Plaintiff, Lisa Barbounis is not the only female employee who Defendant, Greg

Roman supervised who has alleged that Defendant, Greg Roman subjected her to sexual

harassment and sexual misconduct and sexually inappropriate behavior.

       Answer: Denied.

       158.   Defendant, Greg Roman has subjected multiple female employees to severe and

pervasive sexual harassment.

       Answer: Denied.




                                              30
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 31 of 130




       159.    Many of these female employees who have worked for Defendant, Greg Roman

have filed Charges of Discrimination at the EEOC to report Defendant, Greg Roman’s sexual

harassment, misconduct, and inappropriate sexual behavior.

       Answer: Admitted in part, denied in part. It is admitted that Plaintiff is not the
       only female employee of the Middle East Forum who has filed a Charge of
       Discrimination with the EEOC. All other allegations are denied.

       160.    Female employees who have reported Defendant, Greg Roman’s sexual

harassment, sexual misconduct, sexually inappropriate behavior including quid pro quo sexual

harassment, stalking like behavior, and in some cases sexual assaults, include (1) Plaintiff, Lisa

Barbounis, (2) Patricia McNulty, (3) Caitriona Brady, and (5) Delaney Yonchek.

       Answer: Denied as stated. While some of the women identified in this allegation
       made “reports” regarding Mr. Roman’s alleged misconduct, these report were/are
       false. Defendants deny vehemently that Mr. Roman engaged in sexual harassment,
       sexual misconduct, sexually inappropriate behavior, quid pro quo harassment,
       stalking, and/or sexual assaults.

       161.    Defendants were on notice of Defendant, Greg Roman and the risk Defendant,

Greg Roman presented for the female staff who worked with MEF.

       Answer: Denied.

       162.    Daniel Pipes refused to investigated.

       Answer: Denied.

       163.    Daniel Pipes refused to investigate.

       Answer: Denied.

       164.    Defendant Greg Roman gave a former intern of the Middle East Forum (named

above as Intern Number 1 - first and last name unknown) $1,500.00 in cash when interns do not

receive compensation from the MEF.

       Answer: Denied.



                                                31
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 32 of 130




       165.    The intern voluntarily left the MEF and has stated that she left to avoid what she

characterized as future, inappropriate sexual advances visited upon her by Defendant, Greg

Roman. She said she could see it coming.

       Answer: Denied.

       166.    Defendant, Greg Roman also called and texted Plaintiff, Lisa Barbounis at

inappropriate times.

       Answer: Denied.

       167.    Defendant, Greg Roman also invited Plaintiff, Lisa Barbounis to him home to

work, however, Plaintiff, Lisa Barbounis never visited Defendant, Greg Roman’s home and

made sure Defendant, Greg Roman understood she never would visit his home.

       Answer: Admitted in part, denied in part. Defendants admit that Plaintiff did not
       visit Mr. Roman’s home. Defendants deny the remainder of this allegation. Mr.
       Roman has no current recollection of inviting Plaintiff to his home.

       168.    Plaintiff, Lisa Barbounis and coworker, Patricia McNulty’s description of

Defendant, Greg Roman’s sexual harassment mirrors accounts of several other female employees

who Defendant, Greg Roman supervised and sexually harassed.

       Answer: Denied.

       169.    Defendant, Greg Roman’s method of operation is that of a sexual predator.

       Answer: Denied.

       170.    Defendant, Greg Roman uses his position and proxy-authority as a supervisor to

recruit very attractive female employees to staff the MEF.

       Answer: Denied.




                                                32
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 33 of 130




       171.       Defendant, Greg Roman then uses his proxy authority to pressure female

employees to have sex with him.

       Answer: Denied.

       172.       Defendant, Greg Roman begins to call and text the female staff at night and on

weekends.

       Answer: Denied.

       173.       Defendant, Greg Roman invites female staff to visit his home or hotel room to get

work done. Sometimes Defendant, Greg Roman will say that there is some work related

documents at his home or hotel room and suggest that the female employee stop by.

       Answer: Denied.

       174.       Defendant, Greg Roman uses his size and height to make female employees feel

intimidated, threatened and uncomfortable.

       Answer: Denied.

       175.       In almost every case, Defendant, Greg Roman offers female employees the hope

of help, support, and assistance from as a proxy and supervisor of MEF. Then Defendant, Greg

Roman attempts to leverage the female employees’ hope of help, support, and assistance into sex

or sexual acts.

       Answer: Denied.

       176.       Defendant, Greg Roman’s sexual harassment of female employees includes

offering to work with female staff at his personal home or hotel room.

       Answer: Denied.




                                                  33
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 34 of 130




       177.     Defendant, Greg Roman uses work assignments to leverage and lure female

employees to his home and then propositions the female employees for sex and sexual favors.

       Answer: Denied.

       178.     Defendant, Greg Roman also sexually harasses female staff by luring female

employees to his hotel rooms. Once at his hotel room, Defendant, Greg Roman attempts to trade

work for sex.

       Answer: Denied.

       179.     Defendant, Greg Roman’s sexual harassment and quid pro quo sexual misconduct

is not limited to the MEF’s employees. Defendant, Greg Roman also uses his position as

Director of the MEF to proposition female individuals who Defendant, Greg Roman works with

in other organizations.

       Answer: Denied.

       180.     For example, as Director of the MEF, Defendant, Greg Roman often works with

reporters from the Washington Post and Washington Examiner.

       Answer: Denied as stated. The term “often” is vague and ambiguous.

       181.     The Middle East Forum is a political organization. Accordingly, The Middle East

Forum focuses tremendous resources in Washington D.C.

       Answer: Denied. MEF is a non-profit research center that does not engage in
       political activities.

       182.     The MEF has to work closely with the press in order to promote and communicate

MEF objectives, endeavors, and messaging.

       Answer: Denied as stated. The term “work closely” is vague and ambiguous.




                                               34
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 35 of 130




       183.    Defendant, Greg Roman used his position and power as Director of the Middle

East Forum to develop relationships with news reporters.

       Answer: Denied.

       184.    Defendant, Greg Roman has attempted to leverage information Defendant, Greg

Roman knows as Director of the MEF for sex with reporters; or sex for stories.

       Answer: Denied.

       185.    Defendant, Greg Roman has sexually harassed and has pressured female reporters

into trading sex in a quid pro quo arrangement for news-stories.

       Answer: Denied.

       186.    Defendant, Greg Roman used his position as a Director of the Middle East Forum

to develop relationships with prominent news outlets like the Washington Post and the

Washington Examiner.

       Answer: Admitted. By way of further response, the nature of Mr. Roman’s work
       requires him to have professional relationships with media professionals.

       187.    Defendant, Greg Roman specifically targeted and preyed upon the women who he

supervised as Director of the MEF, however, Defendant, Greg Roman also used his position and

proxy authority to leverage sex from contacts in the press.

       Answer: Denied.

       188.    The Middle East Forum and Defendant, Greg Roman works directly with

lobbyists, politicians, news outlets, reporters, pundits, and many other organizations and

individuals in Washington D.C.

       Answer: Admitted.




                                                35
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 36 of 130




        189.    The Middle East Forum spends time, resources, and energy working with press

agents, reporters, and television personalities.

        Answer: Admitted.

        190.    Defendant, Greg Roman has used his connections with reporters in his attempts to

trade sex for stories.

        Answer: Denied.

        191.    Defendant, Greg Roman has pressured female reporters to trade sex for stories in

a quid pro quo arrangement.

        Answer: Denied.

        192.    Defendant, Greg Roman was in Washington D.C., and encountered a female

member of the press at a restaurant and bar. This was a female member of the press who

Defendant Greg Roman met in his position as Director of the Middle East Forum.

        Answer: Denied as stated. This allegation is too vague and ambiguous for
        Defendants to admit or deny. It does not state enough specificity in order for
        Defendants to frame an adequate response.

        193.    Defendant, Greg Roman used his position as Director of the Middle East Forum

to generate a relationship with this female member of the press and they had worked with one

another several times in the past.

        Answer: Denied as stated. This allegation is too vague and ambiguous for
        Defendants to admit or deny.

        194.    Defendant, Greg Roman encountered this female member of the press and

targeted and preyed upon this female member of the press and propositioned her in an attempt to

trade Middle East Forum stories for sex.

        Answer: Denied.



                                                   36
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 37 of 130




        195.       Defendant, Greg Roman lured the female employee outside of the restaurant and

bar and exposed his penis in front of the female member of the press.

        Answer: Denied.

        196.       Defendant, Greg Roman then ordered the female member of the press to come to

his hotel room within the next hour.

        Answer: Denied.

        197.       Defendant, Greg Roman pressured the female member of the press to engage in

sexual acts with Defendant, Greg Roman in exchange for a good story.

        Answer: Denied.

        198.       When the female member of the press made it clear that she had no interest in

trading sex for stories, Defendant, Greg Roman became abusive and aggressive and began to

threaten the female member of the press.

        Answer: Denied.

        199.       Defendant, Greg Roman exposed his penis to a reporter and propositioned the

reporter for sex.

        Answer: Denied.

        200.       Defendant, Greg Roman threatened the reporter when the reporter refused to trade

sex for stories.

        Answer: Denied.

        201.       Defendant, Greg Roman yelled across the bar and restaurant telling this female

member of the press that she had one half hour to visit his hotel room or he would “give the story

to the Washington Post.”

        Answer: Denied.


                                                   37
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 38 of 130




       202.    The Washington Post was a primary competitor organization of the organization

with whom the female member of the press worked.

       Answer: Denied. Defendants lack knowledge or information sufficient to form a
       belief as to the truth of the allegations regarding this paragraph and, therefore,
       deny the same.

       203.    Defendant Greg Roman’s threat to give the story to the Washington Post was

intended to coerce the female member of the press to change her mind and agree to the quid pro

quo sexual arrangement; selling sex for stories from the Director of the MEF.

       Answer: Denied.

       204.    This is just another example of Defendant, Greg Roman’s sexual harassment,

sexual misconduct, and sexually inappropriate behavior to which Defendant, Greg Roman

subjected female individuals which whom Defendant, Greg Roman worked.

       Answer: Denied.

       205.    Defendant, Greg Roman has also subjected Plaintiff, Lisa Barbounis’s coworker,

Marnie Meyer to severe and pervasive discrimination and harassment in the workplace.

       Answer: Denied.

       206.    Marnie Meyer is the Director of Human Resources for Defendant, MEF.

       Answer: Denied.

       207.    Defendant, Greg Roman has sexually harassed Mamie Meyer and has attempted

to lure Marnie Meyer across national borders with the intention of uses fraud, physical force

and/or coercion in order to engage Marnie Meyer in sexual acts.

       Answer: Denied.




                                               38
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 39 of 130




       208.   Defendant, Greg Roman expressly conditioned Marnie Meyer with a company

trip to Israel, stating that Marnie Meyer could only accompany Defendant, Greg Roman if she

agreed to share an Airbnb.

       Answer: Denied as stated. When Mr. Roman was planning the trip to Israel, the
       budget was limited, and security was imperative. It was necessary for Defendants to
       be cost-conscious. Mr. Roman was fully transparent with Ms. Meyer when he
       explained to her that should she choose to travel to Israel, the accommodations
       would be a multi-bedroom Airbnb. These were the same accommodations that were
       also offered to male employees. Mr. Roman, on previous trips, stayed with other
       staff members at AirBnBs.

       209.   Defendant, Greg Roman refused to allow Marnie Meyer to travel across national

borders to Israel unless Marnie Meyer shared the same living space with Defendant, Greg

Roman.

       Answer: Denied.

       210.   Defendant, Marnie Meyer refused to share an Airbnb with Defendant, Greg

Roman due to the obvious implication in the inappropriate condition.

       Answer: Denied.

       211.   Defendant, Greg Roman had already subjected Mamie Meyer to severe and

pervasive discrimination and harassment in the workplace based upon sex and gender.

       Answer: Denied.

       212.   Marnie Meyer was also subjected to discrimination and harassment from

Defendant Greg Roman.

       Answer: Denied.




                                              39
          Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 40 of 130




          213.    Mamie Meyer was harassed and sexually harassed by Defendant, Greg Roman to

such an extent that Marnie Meyer had to notify Defendant, Greg Roman, “I am never going to

sleep with you.”

          Answer: Denied.

          214.    Accordingly, Marnie Meyer refused to travel across national borders with

Defendant, Greg Roman to Israel unless Marnie Meyer was allowed to book her own hotel room.

          Answer: Denied. Defendants lack knowledge or information sufficient to form a
          belief about the truth of this allegation and it is therefore denied.

          215.    When Marnie Meyer insisted on the condition that she be allowed to book her

own hotel room, Defendant, Greg Roman refused to allow Marnie Meyer to accompany him to

Israel.

          Answer: Denied.

          216.    Therefore, Defendant, Greg Roman withdrew the opportunity for Marnie Meyer

to travel to Israel.

          Answer: Denied.

          217.    After eliminating Marnie Meyer, Defendant, Greg Roman continued his objective

to find someone to lure across national borders in order to use fraud, force, or coercion to engage

in sexual acts.

          Answer: Denied. By way of further response, Mr. Roman also asked Mr. Bennett
          to go on the trip before he decided to let Plaintiff go.

          218.    Defendant, Greg Roman asked Plaintiff, Lisa Barbounis to travel to Israel with

him.

          Answer: Denied.




                                                  40
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 41 of 130




        219.    Defendant, Greg Roman instructed Plaintiff, Lisa Barbounis not to tell anyone she

was coming to Israel with him.

        Answer: Denied.

        220.    Defendant, Greg Roman provided Plaintiff, Lisa Barbounis the same quid pro quo

arrangement and conditioned the trip to Israel on sharing a living space with Defendant, Greg

Roman.

        Answer: Denied.

        221.    Defendant, Greg Roman informed Plaintiff, Lisa Barbounis that she could only

travel across national borders to Israel if Plaintiff, Lisa Barbounis agreed to share an Airbnb.

        Answer: Denied as stated. By way of further response, When Plaintiff asked if she
        could go with Mr. Roman to Israel, he told her that should she decide to come with
        him, they would be sharing a multi-bedroom AirBnb. Given certain budget
        constraints and security considerations, a multi bedroom AirBnb was the chosen
        arrangement which was made known to Plaintiff.

        222.    Plaintiff, Lisa Barbounis has always wanted to travel to Israel.

        Answer: Denied. Defendants lack knowledge or information sufficient to form a
        belief about the truth of this allegation and it is therefore denied.

        223.    Accordingly, Defendant, Greg Roman used Plaintiff, Lisa Barbounis desire to see

Israel to lure her across national borders with the intent of using fraud, coercion and/or force to

engage Plaintiff, Lisa Barbounis in sexual acts.

        Answer: Denied.

        224.    Accordingly, in April 2018, Defendant, Greg Roman and Plaintiff, Lisa Barbounis

traveled to Israel.

        Answer: Admitted in part, denied in part. It is admitted only that Mr. Roman and
        Plaintiff traveled to Israel. It is denied that the travel was according to the
        foregoing allegations.



                                                   41
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 42 of 130




       225.    Defendant, Greg Roman lured Plaintiff, Lisa Barbounis to Israel by promising

that the work trip would be an invaluable opportunity for Plaintiff, Lisa Barbounis.

       Answer: Denied. By way of further response, Plaintiff aggressively pursued the
       opportunity to travel to Israel with Mr. Roman and after he presented her with a
       full description of the trip’s logistics, she eagerly elected to travel with him.

       226.    Strangely, Defendant, Greg Roman ordered Plaintiff, Lisa Barbounis not to tell

anyone that Plaintiff, Lisa Barbounis was accompanying Defendant, Greg Roman on the trip.

       Answer: Denied.

       227.    Defendant Greg Roman used his influence, seniority, and proxy authority, to lure

Plaintiff, Lisa Barbounis across national borders to Israel with the intent of subjecting Plaintiff,

Lisa Barbounis to sexual advances and sex.

       Answer: Denied. Defendants deny all allegations of inappropriate sexual conduct
       and sexual harassment including all allegations that Mr. Roman “lured” Plaintiff to
       travel with him with any improper intent.

       228.    Upon arrival, Plaintiff was surprised when she discovered that Defendant, Greg

Roman had booked a small space with only one bathroom.

       Answer: Denied.

       229.    Because of Defendant, Greg Roman’s sexual advances, sexual harassment, sexual

assault, and sexually inappropriate behavior, Plaintiff, Lisa Barbounis spent much of the time in

Israel scared and emotionally distressed.

       Answer: Denied.

       230.    Defendant, Greg Roman would not allow Plaintiff, Lisa Barbounis to travel to

Israel unless she agreed to share an Airbnb with him.

       Answer: Denied. By way of further response, Plaintiff eagerly pursued the
       opportunity to travel to Israel with Mr. Roman and after he presented her with a
       full description of the trip’s logistics, she elected to travel with him.


                                                 42
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 43 of 130




       231.    Plaintiff, Lisa Barbounis agreed on the condition that they book a two-bedroom

and two-bathroom Airbnb. There was only one bathroom upon arrival.

       Answer: Denied.

       232.    Defendant, Greg Roman said to Plaintiff, Lisa Barbounis, “I really thought this

place had two bathrooms.” The Airbnb clearly states the number of bathrooms on the cover page

of the advertisement for the room.

       Answer: Denied.

       233.    Defendant, Greg Roman lured Plaintiff, Lisa Barbounis to Israel based on a

promise and assurance that the Airbnb had both two bathrooms and two bedrooms.

       Answer: Denied.

       234.    Upon arrival, Defendant, Greg Roman was ready to explain why the Airbnb did

not conform to the requirements Plaintiff, Lisa Barbounis provided.

       Answer: Denied.

       235.    Defendant, Greg Roman specifically coerced Plaintiff, Lisa Barbounis into

sharing an Airbnb with him and threatened to withhold the business trip and opportunity

altogether if Plaintiff, Lisa Barbounis did not agree to put herself in a sexually vulnerable

position by sharing the space.

       Answer: Denied. By way of further response, Plaintiff pushed to travel to Israel
       with Mr. Roman fully aware that they would be sharing an AirBnb.

       236.    The level of Plaintiff, Lisa Barbounis’s discomfort, fear, and apprehension during

the trip to Israel is evidenced by text message communications between Plaintiff, Lisa Barbounis

and Patricia McNulty during the trip.

       Answer: Denied. Text messages are written communications, the contents of which
       speak for themselves and Plaintiff’s characterization thereof is denied.


                                                 43
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 44 of 130




       237.    While in Israel, Plaintiff, Lisa Barbounis texted, “I am going to put a knife in my

room.” This message indicated that Plaintiff, Lisa Barbounis did not feel safe in the same living

space with Defendant, Greg Roman.

       Answer: Denied. Text messages are written communications the contents of which
       speak for themselves and Plaintiff’s characterization thereof is denied.

       238.    While in Israel, Plaintiff, Lisa Barbounis texted, “He’s creepy. Talking about

stuff he shouldn’t be and too drunk.”

       Answer: Denied. Text messages are written communications the contents of which
       speak for themselves and Plaintiff’s characterization thereof is denied.

       239.    While in Israel, Plaintiff, Lisa Barbounis texted, “I’m so uncomfortable.”

       Answer: Denied. Text messages are written communications the contents of which
       speak for themselves and Plaintiff’s characterization thereof is denied.

       240.    While in Israel, Plaintiff, Lisa Barbounis texted, “I can’t wait to come home.”

       Answer: Denied. Text messages are written communications the contents of which
       speak for themselves and Plaintiff’s characterization thereof is denied.

       241.    While in Israel, Plaintiff, Lisa Barbounis texted, “He drank too much.”

       Answer: Denied. Text messages are written communications the contents of which
       speak for themselves and Plaintiff’s characterization thereof is denied.

       242.    While in Israel, Plaintiff, Lisa Barbounis texted, “The shit he is saying is so

strange I can’t type it all anyway.”

       Answer: Denied. Text messages are written communications the contents of which
       speak for themselves and Plaintiff’s characterization thereof is denied.

       243.    While in Israel, Plaintiff, Lisa Barbounis texted, “Talking about women and his

wife and conquests and graphic.”

       Answer: Denied. Text messages are written communications the contents of which
       speak for themselves and Plaintiff’s characterization thereof is denied.



                                                44
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 45 of 130




       244.    While in Israel, Plaintiff, Lisa Barbounis texted, “He said he fucked Lea

(indicating MEF intern Leah Merville) and tried to meet up with her again and it didn’t work out.

This test message referred to Defendant, Greg Roman’s attempts to meet with former MEF

intern Leah Merville who lived in Israel at that time. Defendant, Greg Roman propositions Leah

Merville for sex and Leah Merville rejected Defendant, Greg Roman’s advances.

       Answer: Denied. Text messages are written communications the contents of which
       speak for themselves and Plaintiff’s characterization thereof is denied.

       245.    Defendant, Greg Roman spent the Israel trip attempting to coerce Plaintiff, Lisa

Barbounis into engaging in sexual acts with him, Defendant, Greg Roman acted like sex with

Plaintiff, Lisa Barbounis was a certainty because they were sharing a room.

       Answer: Denied. Defendants deny all allegations of inappropriate sexual conduct
       and sexual harassment, including any allegation that Mr. Roman coerced Plaintiff
       to engage in sexual acts with him and that he acted like having sex with Plaintiff was
       certain.

       246.    Defendant, Greg Roman attempted to engage Plaintiff, Lisa Barbounis in

conversations that were about sex or suggested sex multiple times throughout the trip.

       Answer: Denied.

       247.    Defendant, Greg Roman subjected Plaintiff, Lisa Barbounis to quid pro quo

sexual harassment by conditioning the trip on Plaintiff sharing the Airbnb with intention of using

the opportunity to engage Plaintiff is sexual advances.

       Answer: Denied.

       248.    Before the Israel trip, Defendant, Greg Roman instructed Plaintiff, Lisa Barbounis

not to tell anyone that she was coming on the trip.

       Answer: Denied.




                                                45
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 46 of 130




       249.    Defendant, Greg Roman said, “Don’t tell your family. Don’t tell Daniel

(indicating Daniel Pipes). Don’t tell anyone in the office.”

       Answer: Denied.

       250.    While on the trip, Plaintiff, Lisa Barbounis was sitting a couch in the living space.

The couch was positioned on the terrace with large sliding glass doors leading out.

       Answer: Denied.

       251.    Defendant Gregg Roman asked Plaintiff, Lisa Barbounis to join him while he

smoked a cigarette.

       Answer: Denied.

       252.    Plaintiff, Lisa Barbounis joined Defendant, Greg Roman on the terrace and sat

down on the far end of one side of the couch.

       Answer: Denied.

       253.    Defendant, Greg Roman sat down next to Plaintiff Lisa Barbounis. Defendant,

Greg Roman then put his legs on the couch and his feet under Plaintiff Lisa Barbounis’s butt.

       Answer: Denied.

       254.    Defendant, Greg Roman used his feet to unlawfully subject Plaintiff, Lisa

Barbounis to unwelcome sexually inappropriate touching.

       Answer: Denied.

       255.    Defendant, Greg Roman’s feet were right under Plaintiff, Lisa Barbounis’s butt,

and this would have been an intimate touching had it been consensual. While his feet were in

Plaintiffs butt, Defendant, Greg Roman said: “now that my foot is on your ass we have reached a

new level.”

       Answer: Denied.


                                                46
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 47 of 130




        256.    Plaintiff Lisa Barbounis was highly uncomfortable. So she got up, walked away

and tried to laugh it off.

        Answer: Denied.

        257.    Plaintiff Lisa Barbounis was highly uncomfortable by this unwelcome sexual

touching.

        Answer: Denied.

        258.    The next evening, Defendant, Greg Roman left the Airbnb to socialize and drink

at bars and/or restaurants.

        Answer: Denied as stated. Both Plaintiff and Mr. Roman went to a restaurant for
        dinner in the evening.

        259.    Plaintiff Lisa Barbounis stayed home to work and finish a Power Point

presentation. This is evidence by text message communications where Plaintiff, Lisa Barbounis

writes, “He just came back I stayed in.”

        Answer: Denied.

        260.    Defendant, Greg Roman arrived at the room and confessed to Plaintiff Lisa

Barbounis that he had a sexual relationship with a former MEF employee/intern named Leah

Merville.

        Answer: Denied.

        261.    Upon his return, Defendant, Greg Roman informed Plaintiff, Lisa Barbounis that

Defendant, Greg Roman attempted to meet Leah Merville that evening. Defendant, Greg Roman

also said he visited his ex-girlfriend while he was out.

        Answer: Denied.




                                                 47
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 48 of 130




       262.    Defendant, Greg Roman indicated that he had propositioned both Leah Merville

and his ex-girlfriend for sex and was rejected both times.

       Answer: Denied.

       263.    Defendant, Greg Roman was infuriated, and began behaving in a sexually

inappropriate and aggressive manner by pacing back and forth and complaining loudly about his

sexual frustrations.

       Answer: Denied.

       264.    Plaintiff, Lisa Barbounis maintained a text message conversation with Patricia

McNulty and referenced Defendant, Greg Roman’s inappropriate conduct and comments.

       Answer: Denied as stated. Text messages are written communications, the contents
       of which speak for themselves.

       265.    Plaintiff, Lisa Barbounis texted, “He said he fucked Lea and tried to meet up with

her again and it didn’t work out.”

       Answer: Denied as stated. Text messages are written communications, the contents
       of which speak for themselves.

       266.    When Leah Merville was employed by MEF, Defendant, Greg Roman, as

Director of the MEF, held supervisory authority over Leah Merville.

       Answer: Denied as stated. Ms. Merville was an intern who worked with Mr.
       Roman and others at MEF.

       267.    Defendant, Greg Roman lured Leah Merville to his hotel room in Israel and used

his proxy authority as a supervisor and Director of The Middle East Forum to convince Leah

Merville to engage in sexual intercourse.

       Answer: Denied.




                                                48
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 49 of 130




       268.    Leah Merville was an intern in Pennsylvania at MEF. When her internship ended,

Defendant, Greg Roman helped Leah Merville obtain an internship in Israel.

       Answer: Admitted in part, denied in part. It is admitted that Ms. Merville was an
       intern at MEF in Pennsylvania. The remainder of this allegation is denied.

       269.    Defendant, Greg Roman explained to Plaintiff, Lisa Barbounis that he suggested

that Leah Merville visit his hotel room, to sign certain paperwork.

       Answer: Denied.

       270.    Defendant, Greg Roman said, I will sign it and give it to you. The paperwork was

apparently required paperwork for Leah Merville’s completion of her internship.

       Answer: Denied.

       271.    Leah Merville is a young girl who was an intern at MEF. Leah Merville is from

France and was in a strange country with no good friends or family nearby. Defendant, Greg

Roman used his position of authority to engage Leah Merville in sexual intercourse.

       Answer: Admitted in part, denied in part. It is admitted only that Ms. Merville was
       an intern for MEF, and she is from France. Defendants deny the remainder of this
       allegation.

       272.    Defendant, Greg Roman told Leah Merville to come to his hotel room because

that is where he had the paperwork that Leah Merville needed.

       Answer: Denied.

       273.    During the next trip to Israel, when Plaintiff, Lisa Barbounis attended, Defendant,

Greg Roman attempted to engage Leah Merville in sexual intercourse again. This time Leah

Merville rejected Defendant, Greg Roman.

       Answer: Denied.




                                                49
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 50 of 130




       274.    Defendant, Greg Roman sexually harassed female employee of the MEF and

attempted to use fraud, coercion, and/or force to lure female employees to his room and/or to

hotel rooms including Airbnb’s.

       Answer: Denied. Defendants deny all allegations of sexual harassment and
       inappropriate sexual conduct, including any use of fraud, coercion, and/or force to
       lure female employees to hotel rooms and AirBnbs.

       275.    After attempting to engage Leah Merville in sexual intercourse, Defendant, Greg

Roman arrived back at the Airbnb, where Plaintiff, Lisa Barbounis remained in order to complete

work and finish a Power Point.

       Answer: Denied.

       276.    Defendant, Greg Roman then began to subject Plaintiff, Lisa Barbourins to severe

sexual harassment and sexual misconduct.

       Answer: Denied.

       277.    Defendant, Greg Roman said to Plaintiff, Lisa Barbounis, Leah Merville gives a

really great blowjob.

       Answer: Denied.

       278.    Defendant, Greg Roman said, “her body is so tight.”

       Answer: Denied.

       279.    Defendant, Greg Roman continued to describe in detail his sexual acts to Plaintiff

Lisa Barbounis.

       Answer: Denied.

       280.    Plaintiff Lisa Barbounis was highly offended and scared and no longer felt

comfortable alone with Defendant, Greg Roman.

       Answer: Denied.


                                               50
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 51 of 130




       281.    When Plaintiff, Lisa Barbounis received a text asking whether she thought that

Defendant, Greg Roman would try to “touch you kind of way?” Plaintiff, Lisa Barbounis

responded. “Like maybe, enough doubt to make me uncomfortable.”

       Answer: Denied. Text messages are written communications the contents of which
       speak for themselves.

       282.    Plaintiff, Lisa Barbounis’s text history is available and will be produced to

substantiate the allegations contained in this Complaint.

       Answer: Denied. Defendants lack knowledge or information sufficient to form a
       belief about the truth of this allegation and it is therefore denied.

       283.    Defendant, Greg Roman subjected Plaintiff, Lisa Barbounis to unwelcome sexual

advances.

       Answer: Denied.

       284.    Defendant, Greg Roman told Plaintiff, Lisa Barbounis, “I just need a sexual

release.”

       Answer: Denied.

       285.    Defendant, Greg Roman informed Plaintiff Lisa Barbounis, “I really need a

blowjob.”

       Answer: Denied.

       286.    The entire time that Defendant, Greg Roman spoke to Plaintiff Lisa Barbounis, he

aggressively paced the room and said, I just need a blowjob. I just need a release.

       Answer: Denied.

       287.    Plaintiff Lisa Barbounis was scared, offended, harassed, and creeped out.

       Answer: Denied.




                                                51
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 52 of 130




       288.    Defendant, Greg Roman’s aggressive sexual conduct escalated.

       Answer: Denied.

       289.    Defendant, Greg Roman’s voice got louder as he continued to visit his sexual

advances upon Plaintiff Lisa Barbounis.

       Answer: Denied.

       290.    When Plaintiff, Lisa Barbounis and Defendant, Greg Roman returned to the

United States from their trip to Israel, Defendant, Greg Roman continued his inappropriate

unwelcome sexual misconduct and sexual harassment.

       Answer: Denied.

       291.    Defendant, Greg Roman also subjected Plaintiff, Lisa Barbounis to discrimination

based on sex and gender and was violently aggressive toward female staff members including

Plaintiff, Lisa Barbounis.

       Answer: Denied.

       292.    Defendant, Greg Roman screamed at Plaintiff, Lisa Barbounis.

       Answer: Denied.

       293.    Defendant, Greg Roman cursed at Plaintiff, Lisa Barbounis.

       Answer: Denied.

       294.    Defendant, Greg Roman did not treat Plaintiffs similarly situated male coworkers

in this discriminatory, abusive, hostile and intolerable manner.

       Answer: Denied.




                                                52
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 53 of 130




       295.   Defendant, Greg Roman also subjected Plaintiffs female coworkers to

discrimination and harassment due to their sex and gender.

       Answer: Denied.

       296.   Defendant, Greg Roman also subjected coworker, Patricia McNulty to severe and

pervasive discrimination and harassment based upon her sex and gender.

       Answer: Denied.

       297.   Defendant, Greg Roman also subjected Plaintiffs coworker, Caitriona Brady to

severe and pervasive discrimination and harassment based upon her sex and gender.

       Answer: Denied.

       298.   Defendant, Greg Roman also subjected Plaintiffs coworker, Delaney Yonchek to

severe and pervasive discrimination and harassment based upon her sex and gender.

       Answer: Denied.

       299.   Defendant, Greg Roman also subjected Plaintiffs coworker, Marnie Meyer to

severe and pervasive discrimination and harassment based upon her sex and gender.

       Answer: Denied.

       300.   At all times, Defendant, Greg Roman was Plaintiff Lisa Barbounis’s direct

supervisor and held proxy authority as the number two executive of the MEF.

       Answer: Denied.

       301.   Defendant, Greg Roman has subjected several other female employees who

worked at the MEF to discrimination and harassment based upon their sex and gender.

       Answer: Denied.




                                              53
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 54 of 130




       302.    Defendant, Greg Roman development, implemented and enforced policies,

procedures and protocols designed to limit employees’ access to President Daniel Pipes.

       Answer: Denied.

       303.    These policies which were strictly enforced which eliminated employees’ ability

to talk directly to Daniel Pipes essentially set of Defendant, Greg Roman as the very top MEF

employee who employees could go to for assistance.

       Answer: Denied.

       304.    Defendant, Greg Roman developed and enforced these policies with the intention

of limiting Plaintiff, Lisa Barbounis’s ability to report Defendant, Greg Roman’s unwelcome

sexual harassment and sexual misconduct and comments.

       Answer: Denied.

       305.    Defendant, Greg Roman had developed, implemented and enforced policies

which were approved by Daniel Pipes whereby employees including Plaintiff, Lisa Barbounis

were not allowed to go directly to Daniel Pipes to express concerns or obtain assistance.

       Answer: Denied.

       306.    After the trip to Israel, Defendant, Greg Roman made inappropriate comments to

Plaintiff, Lisa Barbounis including but not limited to, “you know you are my work wife, right.”

       Answer: Denied.

       307.    After the trip to Israel, Defendant, Greg Roman made inappropriate comments to

Plaintiff, Lisa Barbounis including but not limited to, “I got your back you know I will always

take care of you.”

       Answer: Denied.




                                               54
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 55 of 130




       308.       After the trip to Israel, Defendant, Greg Roman made inappropriate comments to

Plaintiff, Lisa Barbounis including but not limited to, “we are at a new level we have to take care

of each other.”

       Answer: Denied.

       309.       Defendant, Greg Roman called Lisa Barbounis into his office and ordered

Plaintiff to sit next to him and share the computer screen. Defendant, Greg Roman then made

Plaintiff, Lisa Barbounis view inappropriate pictures on his computer.

       Answer: Denied.

       310.       Defendant, Greg Roman showed Plaintiff pictures of girls that he had claimed to

have sexual intercourse with.

       Answer: Denied.

       311.       Defendant, Greg Roman made comments about women’s’ looks, saying, Look

how hot this one it, look how hot that one is.

       Answer: Denied.

       312.       Pursuant to the sexual advances described above and the assault on coworker,

Patricia McNulty, Defendant, Greg Roman began subjecting Plaintiff Lisa Barbounis to

discrimination and harassment in the office based upon Plaintiffs sex and gender.

       Answer: Denied.

       313.       This discrimination and harassment escalated significantly after the Israel trip and

after Plaintiff, Lisa Barbounis rejected Defendant’s Greg Roman’s unwelcome sexual advances.

       Answer: Denied.

       314.       Defendant, Greg Roman followed Plaintiff Lisa Barbounis around the office.

       Answer: Denied.


                                                   55
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 56 of 130




       315.    Defendant, Greg Roman used his size and height to intimidate Plaintiff, Lisa

Barbounis.

       Answer: Denied.

       316.    Defendant, Greg Roman entered Plaintiff Lisa Barbounis’ office when she was

not present and explored her computer including personal emails, chat history, and internet

browser history.

       Answer: Denied.

       317.    This is the same conduct which Defendant, Greg Roman subjected Laura and

Lara and led to Laura and Lara’s termination.

       Answer: Denied.

       318.    Defendant, Greg Roman undertook to discriminate and harass female staff,

including subjecting female staff to sexual harassment and sexual misconduct with the express

understanding that Daniel Pipes would protect Defendant, Greg Roman.

       Answer: Denied.

       319.    Defendant, Greg Roman asked other employees including Mamie Meyer to spy

on Plaintiff Lisa Barbounis.

       Answer: Denied.

       320.    Defendant, Greg Roman stalked Plaintiff, Lisa Barbounis while Plaintiff worked.

Defendant, Greg Roman counted and tracked the number of times that Plaintiff used the

bathroom.

       Answer: Denied.




                                                56
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 57 of 130




       321.    Defendant, Greg Roman sat and stared at Plaintiff, Lisa Barbounis using the

camera system and made comments to Plaintiff, Lisa Barbounis to communicate to Plaintiff, Lisa

Barbounis that she was being watched.

       Answer: Denied.

       322.    Defendant, Greg Roman subjected Plaintiff to severe and pervasive discrimination

and harassment based upon her sex and gender.

       Answer: Denied.

       323.    This discrimination and harassment was evident in the way that Defendant, Greg

Roman spoke to Plaintiff, the assignments he required Plaintiff to complete, the tone of voice he

used, body language, expressions, use of language and cursing, and other threatening conduct.

       Answer: Denied.

       324.    Defendant, Greg Roman created a hostile work environment for Plaintiff, Lisa

Barbounis. The work environment was severe and pervasive.

       Answer: Denied.

       325.    Plaintiff reported the discrimination and harassment to which she was subjected

by Defendant, Greg Roman.

       Answer: Denied.

       326.    Plaintiff, Lisa Barbounis notified Marnie Meyer who was the Director of Human

Resources.

       Answer: Denied.




                                                57
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 58 of 130




        327.       Marnie Meyer prepared a handwritten letter addressed to Daniel Pipes and

provided the letter on November 1, 2018.

        Answer: Admitted in part, denied in part. It is admitted only that Ms. Meyer
        prepared a handwritten letter addressed to Mr. Pipes. The remainder of this
        allegation is denied because the letter is a written document the contents of which
        speak for themselves.

        328.       Marnie Meyer notified Daniel Pipes that Defendant, Greg Roman was using his

supervisory authority as Director of the MEF to “railroad” Plaintiff, Lisa Barbounis and “set her

up for failure.”

        Answer: Denied. Ms. Meyer’s letter is a written document the contents of which
        speak for themselves.

        329.       Defendant, Greg Roman said to Marnie Meyer that he could get Plaintiff, Lisa

Barbounis to drop complaints and reports of Defendant, Greg Roman.

        Answer: Denied.

        330.       Marnie Meyer also reported a hostile work environment which was created by

Defendant, Greg Roman.

        Answer: Denied.

        331.       Marnie Meyer also reported to Defendant, Daniel Pipes that Defendant, Greg

Roman had sex with an MEF intern named Leah Merville. Mamie Meyer reported that Leah

Merville was eighteen (18) years old at the time, that Defendant, Greg Roman had sex with Leah

Merville in a hotel room in Israel, at a time when Leah Merville needed Defendant, Greg Roman

to sign paperwork for her, After reporting this to Daniel Pipes, Mamie Meyer reported that this

was just “the tip of the iceberg.”

        Answer: Admitted in part, denied in part. It is admitted only that Ms. Meyer
        reported the above-described conduct to Mr. Pipes. The remaining allegations are
        denied.


                                                  58
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 59 of 130




       332.    Marnie Meyer also explained that she reported Defendant, Greg Roman’s

unlawful discrimination and harassment with handwritten letters because Defendant, Greg

Roman used the knowledge he gained as Director of the MEF, including secure passwords to

computers, to spy on employees emails and files. Importantly, this is what led to Laura Frank

and Lara (last name unknown)’s termination.

       Answer: Denied as stated. At some point, Ms. Meyer reported what she contended
       to be improper conduct by Mr. Roman. She further told Mr. Pipes why she was
       doing it by handwritten letters rather than email. Defendants deny that Mr.
       Roman’s conduct was improper; deny that Ms. Meyers’s complaints were valid; and
       deny all other allegations in this paragraph.

       333.    Accordingly, Marnie Meyer hand wrote her reports to Daniel Pipes because she

was scared to create an electronic record that could be accessed by Defendant, Greg Roman.

       Answer: Denied. Defendants lack knowledge or information sufficient to form a
       belief about the truth of this allegation and it is therefore denied.

       334.    Marnie Meyer’s fear of creating an electronic record was directly due to

Defendant, Greg Roman’s conduct including stalking and spying.

       Answer: Denied.

       335.    Defendant, Daniel Pipes spoke to Plaintiff, Lisa Barbounis about Plaintiffs reports

of discrimination and harassment in the workplace.

       Answer: Admitted.

       336.    Plaintiff reported Defendant, Greg Roman’s sexual harassment and sexual

misconduct during the Israel trip.

       Answer: Denied. Several months after the Israel trip, Plaintiff spoke with Mr.
       Pipes about what she contended was alleged misconduct by Mr. Roman but none of
       this conduct actually constitutes sexual harassment or sexual misconduct.
       Defendants deny that Mr. Roman ever engaged in sexual harassment or sexual
       misconduct.



                                               59
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 60 of 130




       337.   Plaintiff, Lisa Barbounis also notified and reported Defendant, Greg Roman’s

sexual harassment, sexual misconduct and sexual assault during the A1PAC Conference.

       Answer: Denied. Several months after the AIPAC conference, Plaintiff spoke with
       Mr. Pipes about what she contended was alleged misconduct by Mr. Roman but
       none of this conduct actually constitutes sexual harassment, sexual misconduct, or
       sexual assault. Defendants deny that Mr. Roman ever engaged in sexual harassment
       or sexual misconduct or that he ever committed a sexual assault.

       338.   Plaintiff, Lisa Barbounis described to Daniel Pipes the way that Defendant, Greg

Roman’s behavior changed significantly after Plaintiff rejected his unwelcome sexual advances.

       Answer: Admitted in part, denied in part. It is admitted only that Plaintiff
       described what she contended was alleged inappropriate behavior to Mr. Pipes.
       Defendants deny all allegations of unwelcome sexual advances.

       339.   Plaintiff, Lisa Barbounis explained that Defendant, Greg Roman was causing a

hostile work environment.

       Answer: Admitted in part, denied in part. It is admitted only that Plaintiff made
       false and inaccurate reports about Mr. Roman. Defendants deny all allegations of a
       hostile work environment.

       340.   In addition to the reports of discrimination and harassment which Plaintiff

provided, several other employees at the Middle East Forum also spoke to Daniel Pipes on

November 1, 2018.

       Answer: Admitted in part, denied in part. It is admitted only that Plaintiff was not
       the only employee who spoke to Mr. Pipes on November 1, 2018 regarding Mr.
       Roman’s conduct. Defendants deny all allegations of discrimination and
       harassment.

       341.   Marnie Meyer made a report to notify Daniel Pipes about Defendant, Greg

Roman’s sexual harassment, sexual misconduct, and/or gender and sex discrimination.

       Answer: Admitted in part, denied in part. It is admitted only that Ms. Meyer
       contacted Mr. Pipes about some concerns regarding Mr. Roman. Defendants deny
       that her reports were about alleged conduct that, in any way, constituted sexual
       harassment, sexual misconduct, and/or discrimination.


                                              60
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 61 of 130




       342.   Patricia McNulty made a report to notify Daniel Pipes about Defendant, Greg

Roman’s sexual harassment, sexual misconduct, and/or gender and sex discrimination.

       Answer: Admitted in part, denied in part. It is admitted only that Ms. McNulty
       contacted Mr. Pipes about some concerns regarding Mr. Roman. Defendants deny
       that her reports were about alleged conduct that, in any way, constituted sexual
       harassment, sexual misconduct, and/or discrimination.

       343.   Caitriona Brady made a report to notify Daniel Pipes about Defendant, Greg

Roman’s sexual harassment, sexual misconduct, and/or gender and sex discrimination.

       Answer: Admitted in part, denied in part. It is admitted only that Ms. Brady
       contacted Mr. Pipes about some concerns regarding Mr. Roman. Defendants deny
       that her reports were about alleged conduct that, in any way, constituted sexual
       harassment, sexual misconduct, and/or discrimination.

       344.   Delaney Yonchek made a report to notify Daniel Pipes about Defendant, Greg

Roman’s sexual harassment, sexual misconduct, and/or gender and sex discrimination.

       Answer: Admitted in part, denied in part. It is admitted only that Ms. Yoncheck
       contacted Mr. Pipes about some concerns regarding Mr. Roman. Defendants deny
       that her reports were about alleged conduct that, in any way, constituted sexual
       harassment, sexual misconduct, and/or discrimination.

       345.   Prior to November 1, 2018, Daniel Pipes was already on express and actual notice

regarding Defendant, Greg Roman’s sexual harassment, sexual misconduct and sex and gender

discrimination.

       Answer: Denied.




                                             61
         Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 62 of 130




         346.   Prior to November 1, 2018, and by at least December 2016, Daniel Pipes was

notified about a Charge of Discrimination filed with the Equal Employment Opportunity

Commission alleging that Defendant, Greg Roman subjected female employees to sexual

harassment and sexual misconduct.

         Answer: Admitted in part, denied in part. It is admitted only that prior to
         November 1, 2018, a Charge of Discrimination had been filed with the Equal
         Employment Opportunity Commission. A Charge of Discrimination is a written
         document the contents of which speak for themselves therefore the remainder of this
         allegation is denied.

         347.   Daniel Pipes was in possession of and had express and actual knowledge about

numerous reports of Defendant, Greg Roman’s sexual harassment and sexual misconduct to

which Defendant, Greg Roman subjected female employees who worked at The Middle East

Forum.

         Answer: Denied.

         348.   Daniel Pipes remained loyal to Defendant, Greg Roman, who has been accused of

preying on female employees of The Middle East Forum for at least five (5) years.

         Answer: Denied.

         349.   At every opportunity, Daniel Pipes has introduced policies, procedures, and

protocols designed to punish the female employees of The Middle East Forum who have claimed

abuse and sexual abuse, while rewarding the individual accused of abusing these same female

employees.

         Answer: Denied.




                                                62
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 63 of 130




       350.    Had Daniel Pipes considered and acted in accordance with federal, state and local

anti-discrimination laws, Plaintiff, Lisa Barbounis would never have been subjected to severe

and pervasive discrimination and harassment in the workplace.

       Answer: Denied. Defendants deny all allegations of violations of federal, state, and
       local anti-discrimination laws and deny all allegations of discrimination and
       harassment.

       351.    Due to Daniel Pipes refusal to investigate and remediate earlier reports of

discrimination and harassment in the workplace, Plaintiff, Lisa Barbounis and many other of

Plaintiffs female coworkers were subjected to a campaign of discrimination and harassment due

to their sex and gender.

       Answer: Denied.

       352.    Had Daniel Pipes considered and acted in accordance with laws aimed at

protecting women from sexual harassment in the workplace, he would have investigated

Defendant, Greg Roman as early as 2016 and prompt remedial measures would have been

implemented to ameliorate and/or eliminate completely the future sexual harassment and sexual

misconduct that occurred in 2018 to Plaintiff, Lisa Barbounis.

       Answer: Denied. Defendants deny all allegations that Mr. Pipes failed to act in
       accordance with any law and deny all allegations of sexual harassment and sexual
       misconduct.

       353.    Defendant Daniel Pipes held a group meeting on November 1, 2018, during

which, Plaintiff, Lisa Barbounis, Patricia McNulty, Marnie Meyer, Caitriona Brady, and Delaney

Yonchek all expressed grave concerns regarding Defendant, Greg Roman’s discrimination and

harassment of the female staff.

       Answer: Admitted in part; denied in part. Defendants admit that a meeting
       occurred on November 1, 2018 but deny all other allegations in this paragraph.




                                                63
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 64 of 130




       354.      During the November 1, 2018 meeting, Daniel Pipes was notified about the sexual

assault in Washington D.C., during the AIPAC Conference., when Defendant, Greg Roman

forcefully, violently, and aggressively picked Patricia McNulty up by her upper thigh and back-

side, dropped her on his lap, and suggested that Ms. McNulty engage in sexual acts with

Defendant, Greg Roman.

       Answer: Admitted in part, denied in part. It is admitted only that on November 1,
       2018, Mr. Pipes learned of this alleged incident. Defendants deny the occurrence of
       any sexual assault or improper conduct having occurred in Washington D.C. during
       the AIPAC conference and the remainder of this allegation is therefore denied.

       355.      During the November 1, 2018 meeting, Plaintiff, Lisa Barbounis reported the

sexual harassment and sexual misconduct and sexual assault that occurred across national

borders in Israel when Defendant, Greg Roman subjected Plaintiff, Lisa Barbounis to unwelcome

lewd sexual advances including unwelcome sexual touching.

       Answer: Admitted in part, denied in part. It is admitted only that Plaintiff
       reported an incident that allegedly occurred when she was in Israel with Mr.
       Roman. Defendants deny that this report was accurate. And Defendants deny the
       occurrence of any sexual harassment, sexual misconduct, sexual assault, and
       unwelcome sexual advances having occurred during Mr. Roman’s and Plaintiff’s
       time in Israel. The remainder of this allegation is therefore denied.

       356.      November 1, 2018, The Middle East Forum’s female staff informed Daniel Pipes

about Defendant, Greg Roman’s ongoing severe and pervasive discrimination and harassment in

the workplace.

       Answer: Admitted in part, denied in part. It is admitted only that female
       employees expressed some concerns about Mr. Roman. Defendants deny that these
       concerns were accurate or that they constituted complaints about discrimination
       and harassment occurring in the workplace. Defendants deny all allegations of
       workplace discrimination and harassment. The remainder of this allegation is
       therefore denied.




                                                64
          Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 65 of 130




          357.   Daniel Pipes responded to the reports of sexual harassment, sexual misconduct,

and sexual assaults by telling Plaintiff, Lisa Barbounis, Marnie Meyer, Patricia McNulty,

Caitriona Brady, and Delaney Yonchek that Defendant, Greg Roman’s conduct was not that big

a deal.

          Answer: Denied.

          358.   Daniel Pipes suggested that because priests who molest children were permitted

by the Catholic Church to remain priests, Defendant, Greg Roman should be permitted to

continue his employment at the MEF.

          Answer: Denied.


          359.   Daniel Pipes said, “priests have been accused of more and not lost their jobs.”

          Answer: Denied.

          360.   Daniel Pipes did not apologize for the years of abuse described and reported by

his female staff on November 1, 2018.

          Answer: Denied as stated. There was no abuse to apologize for.

          361.   Daniel Pipes notified the female staff of The Middle East Forum including

Plaintiff, Lisa Barbounis, Marnie Meyer, Patricia McNulty, Caitriona Brady, and Delaney

Yonchek that The Middle East Forum maintains standards which informs when discipline for

sexual harassment is warranted.

          Answer: Admitted.

          362.   Daniel Pipes then told his female staff of The Middle East Forum that Defendant,

Greg Roman’s conduct and comments over the years had not risen to the level where discipline

was warranted.

          Answer: Denied

                                                 65
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 66 of 130




       363.     Daniel Pipes’ conclusion that Defendant, Greg Roman’s conduct and comments

had not risen to the level where discipline was warranted was based upon MEF policies which

Daniel Pipes claimed supported his conclusions.

       Answer: Denied.

       364.     Daniel Pipes’ conclusions that Defendant, Greg Roman’s conduct and comments

had not risen to the level where discipline was warranted was in response to learning that a

female staff member of The Middle East Forum named Patricia McNulty had been sexually

assaulted.

       Answer: Denied.

       365.     Daniel Pipes’ conclusions that Defendant, Greg Roman’s conduct and comments

had not risen to the level where discipline was warranted was in response to learning that a

female staff member of The Middle East Forum named Marnie Meyer had been sexually

harassed.

       Answer: Denied.

       366.     Daniel Pipes’ conclusions that Defendant, Greg Roman’s conduct and comments

had not risen to the level where discipline was warranted was in response to learning that a

female staff member of The Middle East Forum, Plaintiff, Lisa Barbounis, had been subjected to

unwelcome sexual touching, sexual assault, sexual harassment, and quid pro quo sexual

propositions.

       Answer: Denied.




                                                66
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 67 of 130




        367.   Daniel Pipes’ conclusions that Defendant, Greg Roman’s conduct and comments

had not risen to the level where discipline was warranted was in response to learning that the

Director of the MEF, Defendant, Greg Roman engaged an eighteen (18) year old female intern

named Leah Merville in sexual intercourse in his hotel room, and that he had lured Ms. Merville

to the hotel room with the promise of signing important paperwork which Ms. Merville required.

        Answer: Denied.

        368.   Accordingly, Daniel Pipes initiated no discipline.

        Answer: Denied as stated.

        369.   Plaintiff Lisa Barbounis, Marnie Meyer, Patricia McNulty were instructed to work

from home the following Friday.

        Answer: Denied as stated.

        370.   Daniel Pipes also instructed Plaintiff Lisa Barbounis, Marnie Meyer, Patricia

McNulty to execute new Nondisclosure Agreements.

        Answer: Denied.

        371.   Plaintiff, Lisa Barbounis refused to sign.

        Answer: Denied as stated. She did not sign.

        372.   Saturday, November 3, 2018, Plaintiff Lisa Barbounis received an email from

Daniel Pipes instructing Plaintiff to attend a group meeting scheduled Monday, November 5,

2018.

        Answer: Denied. Any referenced email is a written communication the contents of
        which speak for themselves and Plaintiff’s characterization thereof is denied.

        373.   This memorandum was sent as a group email to Plaintiff and her coworkers.

        Answer: Denied. Any memorandum is a written communication the contents of
        which speak for themselves and Plaintiff’s characterization thereof is denied.


                                                67
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 68 of 130




       374.    Defendant, Greg Roman was included in the email and invited to attend the group

meeting.

       Answer: Denied. Any referenced email is a written communication the contents of
       which speak for themselves and Plaintiff’s characterization thereof is denied.

       375.    Defendant, Greg Roman was specifically asked to attend the group meeting.

       Answer: Admitted.

       376.    It was not until Monday, November 5, 2018 when a call was made to Defendant,

Greg Roman asking that he stay home. This call was made due to the female staff members all

expressing extreme discomfort at the idea of holding a group meeting about Defendant, Greg

Roman with Defendant, Greg Roman.

       Answer: Admitted in part, denied in part. Defendants admit that Mr. Roman was
       later asked to not come of the office on Monday, November 5, 2018. The remainder
       of this allegation is denied.

       377.    Defendant, Greg Roman’s sister attended the meeting and spent the entire meeting

arguing in support of her brother.

       Answer: Admitted in part, denied in part. It is admitted only that MEF employee
       Stacy Roman is Mr. Roman’s sister and that she was present at the meeting. The
       characterization of the substance of Ms. Roman’s communications is denied.

       378.    Defendant, Greg Roman’s sister said that the woman who Defendant, Greg

Roman sexually harassed were at fault for wearing revealing clothes.

       Answer: Denied.

       379.    The November 5, 2018 meeting was indicative of Defendant, Daniel Pipes utter

failure to bring his organization into compliance with state and federal anti-discrimination laws.

       Answer: Denied. By way of further response, Defendants deny all allegations of
       violations of state and federal anti-discrimination laws.




                                                68
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 69 of 130




       380.   After the November 5, 2018 meeting, Daniel Pipes decided that Defendant, Greg

Roman would retain his position, title, pay, and employment with the Middle East Forum.

       Answer: Denied.

       381.   Daniel Pipes notified Plaintiff, Lisa Barbounis that Defendant, Greg Roman

would work from home and that Plaintiff would no longer directly report to Defendant Greg

Roman.

       Answer: Admitted.

       382.   Daniel Pipes’ claimed that Plaintiff, Lisa Barbounis would no longer be forced to

work with Defendant, Greg Roman.

       Answer: Denied.

       383.   Daniel Pipes did not enforce his self-prescribed remedial measures and Plaintiff,

Lisa Barbounis was forced to continue working with Defendant, Greg Roman.

       Answer: Denied.

       384.   For the next few months, Plaintiff, Lisa Barbounis was forced to continue

working with Defendant, Greg Roman.

       Answer: Denied.

       385.   The only change was that Defendant, Greg Roman did not visit the office.

       Answer: Denied.

       386.   Defendant, Greg Roman’s work duties, responsibilities, and authority remained

unchanged.

       Answer: Denied.




                                              69
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 70 of 130




       387.    Plaintiff, Lisa Barbounis continued to be subjected to discrimination and

harassment due to her sex and gender. The big difference was that Defendant, Greg Roman set

out on a mission of retaliation aimed at the female employees who reported his unlawful

conduct.

       Answer: Denied.

       388.    Plaintiff was still subjected to the same discrimination and harassment in the

workplace.

       Answer: Denied.

       389.    In fact, the discrimination and harassment got worse, as after the November 5,

2018 meeting, Defendant, Greg Roman unleashed a campaign of retaliation against Plaintiff,

Lisa Barbounis, Patricia McNulty, Mamie Meyer, Caitriona Brady, and Delaney Yonchek.

       Answer: Denied.

       390.    Defendant, Greg Roman openly voiced his retaliatory intent.

       Answer: Denied.

       391.    Defendant, Greg Roman targeted the employees who Defendant, Greg Roman

called “the usurpers.”

       Answer: Denied.

       392.    Defendant Greg Roman also called the female staff who reported his sexual

harassment and sexual misconduct, “backstabbers.”

       Answer: Denied.

       393.    Defendant, Greg Roman notified Defendant, Mathew Bennett, “they are all

usurpers and I will never work with usurpers.”

       Answer: Denied.


                                                 70
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 71 of 130




       394.   Even more recently, Defendant, Greg Roman announced on a radio show that “all

usurpers should be crushed.”

       Answer: Defendants deny all allegations that are inconsistent with the recording.
       Mr. Roman does not recall making this comment, but if he did, it was in reference to
       terrorist organizations.

       395.   Plaintiff was forced to continue working with Defendant, Greg Roman.

       Answer: Denied.

       396.   Plaintiff was still forced to take orders from Defendant, Greg Roman.

       Answer: Denied.

       397.   Defendant, Greg Roman was still the Director of the Middle East Forum.

       Answer: Admitted.

       398.   Defendant, Greg Roman began a campaign of retaliation aimed at Plaintiff, Lisa

Barbounis and the other female employees in the office who reported discrimination and

harassment including Marnie Meyer, Patricia McNulty, Delaney Yonchek, and Caitriona Brady.

       Answer: Denied. Defendants deny all allegations of discrimination, harassment,
       and retaliation.

       399.   Sometime around March 2019, Daniel Pipes held a meeting with Marnie Meyer,

Patricia McNulty and Plaintiff, Lisa Barbounis. The meeting was about bringing Defendant,

Greg Roman back to a position where he would resume almost all of his former responsibilities

as Director of the Middle East Forum.

       Answer: Admitted in part, denied in part. It is admitted only that in March 2019
       Mr. Pipes met with Plaintiff, Ms. Meyer, and Ms. McNulty about Mr. Roman’s role
       at MEF. Mr. Pipes held this meeting because Plaintiff and Ms. McNulty requested
       that Mr. Roman be permitted to assume his former role and responsibilities.




                                              71
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 72 of 130




       400.    After this meeting Defendant, Greg Roman began working directly with the staff

again, including the female staff who Defendant, Greg Roman had systemically victimized.

       Answer: Denied. Plaintiff asked for Mr. Roman’s return. He never victimized her.

       401.    The decision to bring Defendant, Greg Roman back to Director of the Middle East

Forum was agreed upon with extreme reluctance. The female staff who conceded to the

decision which allowed Defendant, Greg Roman to resume his old responsibilities did so in order

to help the Middle East Forum as an organization.

       Answer: Denied. Plaintiff specifically requested Mr. Roman’s return.

       402.    It was clear that the MEF was going through a rough patch and the organization

seemed to be floundering.

       Answer: Denied.

       403.    It was apparent that Daniel Pipes was consulting with Defendant, Greg Roman

behind the scenes and so the decision was made in the interest of helping Daniel Pipes and

helping the organization.

       Answer: Denied.

       404.    Because the MEF is a nonprofit organization with a specific objective, the

employees who work at MEF do so based on a strong belief in the MEF mission.

       Answer: Admitted in part; denied in part. Admitted that MEF is a nonprofit
       organization. Defendants lack knowledge or information sufficient to form a belief
       about the truth of the remainder of the allegation and it is therefore denied

       405.    Defendant, Greg Roman was brought back on what was labeled a strict

probationary period. Daniel Pipes promised strict rules, guidelines, scrutiny, and oversight.

None of this occurred.

       Answer: Denied.


                                                72
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 73 of 130




       406.    Defendant, Greg Roman was moved back to a position where he would interact

directly with the female staff who he prayed upon, abused, and harassed.

       Answer: Denied.

       407.    The female staff members, and Plaintiff, Lisa Barbounis agreed to this reluctantly

because they believed in the Middle East Forum’s mission.

       Answer: Denied.

       408.    The rules and guidelines agreed upon were intended to protect the female staff

who Defendant, Greg Roman had systematically victimized and sexually abused and harassed.

       Answer: Denied.



       409.    These rules and guidelines were quickly disregarded by Daniel Pipes and

Defendant, Greg Roman.

       Answer: Denied.

       410.    Accordingly, shortly after Defendant, Greg Roman’s return, Plaintiff, Lisa

Barbounis noted the discrimination and harassment and retaliation.

       Answer: Denied.

       411.    Defendant, Greg Roman used his position as Director of the MEF to subject

Plaintiff to tangible employment actions such as discipline and the threat of termination.

       Answer: Denied. Defendants deny all allegations of retaliation.

       412.    The female staff and Plaintiff, Lisa Barbounis were subjected to a continuing

hostile work environment including retaliation due to their reporting and opposing Defendant,

Greg Roman’s discrimination and harassment in the workplace.

       Answer: Denied.


                                                73
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 74 of 130




        413.   The female staff including Plaintiff, Lisa Barbounis attempted to discuss the fact

that bringing Defendant, Greg Roman back was not working, and that Defendant, Greg Roman

was actively disregarding the guidelines and rules that the female staff and Daniel Pipes agreed

upon.

        Answer: Denied.

        414.   Daniel Pipes continued his same policy employed for at least the last five (5)

years, of ignoring, disregarding, and refusing to take action in response to reports of

discrimination, harassment and retaliation concerning Defendant, Greg Roman.

        Answer: Denied.



        415.   Daniel Pipes and Defendant, Greg Roman used the female staffs dedication to the

MEF mission to convince female staff to tolerate discriminatory and harassing working

conditions.

        Answer: Denied.

        416.   At all times Defendant, Greg Roman retained the position of Director of the

Middle East Forum.

        Answer: Admitted in part, denied in part. Mr. Roman retained the title of
        Director, but his responsibilities and benefits were diminished beginning in
        November 2018.

        417.   At all times, Plaintiff was forced to continue working at the Middle East Forum

with Defendant, Greg Roman.

        Answer: Denied.




                                                 74
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 75 of 130




       418.    During the March 2019 meeting, Daniel Pipes announced that he was going to

eliminate the purported safe measures initiated to protect the female staff from Defendant, Greg

Roman’s severe and pervasive discrimination, harassment, and retaliation.

       Answer: Denied.

       419.    Accordingly, since March 2019, Plaintiff, Lisa Barbounis has been subjected to

working with Defendant, Greg Roman.

       Answer: Denied

       420.    Defendant, Greg Roman’s campaign of retaliation since March 2019 has been

aimed at effecting Plaintiffs termination from the Middle East Forum.

       Answer: Denied. By way of further response, Plaintiff resigned from her position
       at MEF to pursue an opportunity to work with a politician. Defendants deny all
       allegations of retaliation.

       421.    This was around the same time when Plaintiff, Lisa Barbounis and coworker

Patricia McNulty learned about another allegation of sexual harassment involving Defendant,

Greg Roman.

       Answer: Denied.

       422.    Defendant, Greg Roman began a rumor that Marnie Meyer was having a sexual

relationship with Caitriona Brady’s father.

       Answer: Denied.

       423.    Caitriona Brady is an employee at the Middle East Forum who holds the position

Development Associate.

       Answer: Denied.




                                               75
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 76 of 130




       424.    When Defendant, Greg Roman first learned that another allegation of sexual

harassment was reported, he did not yet know the details of the allegation.

       Answer: Denied.

       425.    Accordingly, Defendant, Greg Roman and Defendant, Mathew Bennett began a

guessing game where they attempted to guess what the allegation involved.

       Answer: Denied.

       426.    Defendant, Greg Roman incorrectly guessed that the sexual harassment allegation

involved a former intern named Gabrielle Bloom who Defendant, Greg Roman purportedly paid

for sex.

       Answer: Denied.

       427.    Defendant, Greg Roman subjected two female interns to quid pro quo sexual

harassment, as well as subjecting Plaintiff to a sexual assault.

       Answer: Denied.

       428.    Defendant, Greg Roman also subjected Plaintiff, Lisa Barbounis to quid pro quo

sexual harassment by conditioning a work trip to Israel on sharing the same Airbnb, Defendant,

Greg Roman set these conditions with the intent of leveraging the close quarters for opportunities

to make sexual advances.

       Answer: Denied.

       429.    Just days after the March 2019 meeting when Defendant, Daniel Pipes announced

that he was eliminating the measures designed to protect female staff from Defendant Greg

Roman, Defendant, Greg Roman called Defendant, Mathew Bennett.

       Answer: Denied.




                                                 76
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 77 of 130




        430.    Defendant, Greg Roman informed Defendant, Matthew Bennett, “now that I am

back, I am going to begin searching for a replacement for the Director of Development.”

        Answer: Denied.

        431.    This was the position of a coworker, Patricia McNulty who also reported being

subjected to discrimination and harassment by Defendant, Greg Roman.

        Answer: Denied

        432.    Defendant, Greg Roman’s statement about Patricia McNulty indicated his intent

to retaliate against the employees who he called “the usurpers.” These were the women who

reported Defendant, Greg Roman’s discrimination and harassment.

        Answer: Denied.

        433.    Defendant, Greg Roman’s primary targets were Patricia McNulty and Plaintiff,

Lisa Barbounis.

        Answer: Denied.

        434.    Defendant, Greg Roman initiated a campaign of discrimination, harassment, and

retaliation against Plaintiff in an effort to effect Plaintiffs termination.

        Answer: Denied. Furthermore, Defendants further deny that Plaintiff was
        terminated.

        435.    Plaintiff reported this to Daniel Pipes.

        Answer: Denied.

        436.    Daniel Pipes utterly disregarded all of Plaintiff s reports of ongoing

discrimination, harassment and retaliation.

        Answer: Denied.




                                                   77
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 78 of 130




       437.    If anything, Daniel Pipes has continued to provide Defendant, Greg Roman more

access, authority, and opportunity with which to achieve his discriminatory and retaliatory

agenda.

       Answer: Denied.

       438.    Despite allowing Defendant, Greg Roman to return on probationary status, Daniel

Pipes continued to protect, shield, indemnity and assist Defendant, Greg Roman from any and all

impact caused by his severe and pervasive discrimination and harassment in the workplace.

       Answer: Denied.

       439.    Daniel Pipes has allowed, permitted, sanctioned and condoned Defendant, Greg

Roman’s sexual harassment and sex and gender discrimination and has never considered

meaningful measures designed to remediate the unlawful conduct.

       Answer: Denied.

       440.    Accordingly, Defendant, Daniel Pipes has condoned, sanctioned, permitted, and

allowed the discrimination, harassment, and retaliation to continue.

       Answer: Denied.

       441.    Defendants have made Plaintiff’s working conditions so onerous, abusive, and

intolerable that no person in Plaintiffs shoes should be expected to continue working under such

conditions.

       Answer: Denied.

       442.    Plaintiff, Lisa Barbounis’s resignation was void of free will.

       Answer: Denied.




                                                78
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 79 of 130




        443.    Plaintiff was constructively discharged from her employment due to the return of

Defendant, Greg Roman and the severe and pervasive hostile work environment which Plaintiff,

Lisa Barbounis was subjected to and due to the campaign of retaliation resulting from Plaintiffs

opposition to and reports of discrimination and harassment in the workplace.

        Answer: Denied.

        444.    Defendants and Daniel Pipes and Defendant, Greg Roman have been subjecting

female staff of The Middle East Forum to discrimination and harassment and retaliation due to

their sex and gender for years.

        Answer: Denied.

        445.    The unlawful acts, comments and conduct described above all involved the same

individual and the same pattern of behavior which includes sexual harassment, sexual

misconduct, and sex and gender discrimination to which the female employees of MEF have

been subjected to for at least the last five (5) years.

        Answer: Denied.

        446.    The way in which Daniel Pipes ignored reports of discrimination and harassment

in the workplace concerning Defendant, Greg Roman created a reasonable inference that any

individual report of sexual harassment, sexual misconduct, or sex and gender discrimination by

Defendant, Greg Roman would be futile and would most likely result in retaliation.

        Answer: Denied.




                                                   79
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 80 of 130




       447.    Plaintiff, Lisa Barbounis was made aware of Laura Frank and Lara’s (last name

unknown) termination which resulted when Laura and Lara discussed Defendant, Greg Roman’s

discrimination and harassment in the workplace. By providing this information to Plaintiff, Lisa

Barbounis, it was essentially a warning not even to discuss reporting discrimination and

harassment in the workplace.

       Answer: Denied.

       448.    For these reasons Plaintiff, Lisa Barbounis was reasonably dissuaded from

reporting Defendant, Greg Roman’s discrimination and harassment.

       Answer: Denied.

       449.    It helped Plaintiff feel more protected when Marnie Meyer, Patricia McNulty,

Plaintiff, Lisa Barbounis, Caitriona Brady, and Delaney Yonchek all came together to report

Defendant, Greg Roman’s unlawful conduct and comments in November 2018.

       Answer: Denied.

       450.    Defendants used to employ a female individual named Eman Patel.

       Answer: Admitted.

       451.    Eman Patel was a gay Muslim female who worked at Middle East Forum.

       Answer: Admitted.

       452.    Eman Patel was harassed by Defendant, Greg Roman until she was constructively

discharged. Defendant, Greg Roman’s objective was to make Eman Patel’s working conditions

so intolerable that she decided to discontinue her employment in a manner which Defendant,

Greg Roman and Defendant, Daniel Pipes considered voluntary.

       Answer: Denied.




                                               80
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 81 of 130




        453.    Both Daniel Pipes and Defendant, Greg Roman harassed Eman Patel until she

quit.

        Answer: Denied.

        454.    Because of the number of protected classes that she could be considered to fall

within, Daniel Pipes and Defendant, Greg Roman called Eman Patel “a walking lawsuit.”

        Answer: Denied.

        455.    Daniel Pipes approved of the plan to harass and make Eman Patel’s work life so

intolerable that she quit on her own.

        Answer: Denied.

        456.    Daniel Pipes and Defendant, Greg Roman used Eman Patel’s gender to harass and

discriminate.

        Answer: Denied.

        457.    Eman Patel is yet another member of the MEF female staff who was subjected to

discrimination and harassment due to her sex and gender.

        Answer: Denied.

        458.    Samantha Mandalas was another female employee of the Middle East Forum.

        Answer: Admitted.

        459.    Samantha Mandalas said in her exit interview “if I would have been a male I

would have gotten more respect.”

        Answer: Denied.




                                                81
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 82 of 130




       460.    Samantha Mandalas was subjected to discrimination and harassment due to her

sex and gender.

       Answer: Denied.

       461.    Plaintiff, Lisa Barbounis was subjected to a severe and pervasive atmosphere of

discrimination and harassment in the workplace.

       Answer: Denied.

       462.    Plaintiff now files this civil action lawsuit against the above named Defendants,

Middle East Forum, Greg Roman, Daniel Pipes, and Matthew Bennett. Plaintiff was employed

at the Middle East Forum from October 2017 until her unlawful termination by constructive

discharge August 2019.

       Answer: Admitted in part, denied in part. It is admitted only that Plaintiff has filed
       the instant civil action against the named Defendants. The remainder of this
       allegation is denied.

       463.    Plaintiff Lisa Barbounis notified Defendants that she could no longer tolerate

working in such hostile work conditions and resigned her position at the Middle East Forum to

avoid further discrimination and harassment and retaliation to which Plaintiff was subjected by

Defendants during her employment.

       Answer: Denied.

       464.    Plaintiff’s resignation letter notified Defendants that she could no longer tolerate

the severe and pervasive discrimination and harassment which caused Plaintiff to suffer physical

and mental distress.

       Answer: Denied. Plaintiff’s resignation letter is a written document the contents of
       which will speak for themselves and Plaintiff’s characterization thereof is denied.




                                                82
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 83 of 130




        465.    Plaintiff reported the discrimination and harassment and was subjected to further

retaliation.

        Answer: Denied.

        466.    When Plaintiff’s first Charge was filed in June 2019, Plaintiff had not yet been

discharged from her employment.

        Answer: Denied. By way of further response, Plaintiff voluntarily resigned and was
        never discharged.
        467.   After filing her Charge, Plaintiff was subjected to further discrimination,

harassment, and retaliation.

        Answer: Denied.

        468.    Plaintiff attempted to continue her employment at the Middle East Forum

however, Defendants initiated a campaign of retaliation against Plaintiff pursuant to Plaintiff’s

reports of discrimination and harassment and her attempts to vindicate her rights by filing a

Charge of Discrimination.

        Answer: Denied.

        469.    Plaintiff was subjected to tangible employment actions. Plaintiff was subjected to

a hostile work environment and the discrimination and harassment was so abusive, hostile, and

intolerable that no reasonable person could have expected Plaintiff to continue working in such

conditions such that Plaintiff’s resignation was void of free will.

        Answer: Denied.

        470.    Plaintiff’s position with the Middle East Forum was changed and altered.

Plaintiff’s ability to do the work that she was responsible for changed at Defendants subjected

Plaintiff to further discrimination and harassment and retaliation by reassigning Plaintiff or

subjecting Plaintiff to discipline.




                                                 83
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 84 of 130




       Answer: Denied.

       471.    Plaintiff was threatened. Plaintiff was ignored. The entire office Changed after

Plaintiff filed her Charge and it was communicated to Plaintiff without any ambiguity that

Plaintiff was no longer welcome at the Middle East Forum.

       Answer: Denied.

       472.    Plaintiff was made to understand that she was not welcome at the Middle East

Forum and that Plaintiff’s future at the Middle East Forum would afford Plaintiff no opportunity

for advancement and indeed Plaintiff would not even be permitted to perform the same

responsibilities that she performed prior to Plaintiff submitting a Charge of Discrimination at the

EEOC and PHRA.

       Answer: Denied.

       473.    Defendants disparate treatment and retaliation against Plaintiff and the hostile

work environment that began in October 2017 culminated in a tangible employment action:

Plaintiff’s termination.

       Answer: Denied.

       474.    Plaintiff Lisa Barbounis also adds additional retaliation which Defendants have

undertaken in their campaign of retaliation to which Defendants have subjected Plaintiff due to

Plaintiff’s reports of and opposition to Defendants discrimination and harassment in the

workplace.

       Answer: Denied.




                                                84
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 85 of 130




        475.    Defendants and Defendant, Middle East Forum has filed a Civil Action Complaint

against Plaintiff, Lisa Barbounis. Defendants have accused Plaintiff of violations of Breach of

Contract—Confidentiality & Non-Disclosure Agreement (Count I), Breach of Contract—Bring

Your Own Device Agreement (Count II), Computer Fraud and Abuse Act (Count III),

Pennsylvania Uniform Trade Secrets Act (Count IV), Defend Trade Secrets Act (Count V),

Stored Communications Act (Count VI), Conversion of Confidential Information (Count VII),

Breach of Fiduciary Duty (Count VIII), and Declaratory Judgment (Count IX). Defendants

attempt to litigate these frivolous claims is nothing more than retaliation.

        Answer: Admitted in part, denied in part. It is admitted only that MEF filed a civil
        action against Plaintiff. The remainder of this allegation is denied.

        476.    This purely frivolous suit is Defendants attempt to harass, embarrass, disparage,

and discredit Plaintiff related to Plaintiff’s protected activity.

        Answer: Denied.

        477.    Plaintiff has filed a Charge of discrimination and harassment and upon receipt of

her Right to Sue letter from the EEOC, Plaintiff filed a Civil Action lawsuit against Defendants.

Defendants have answered Plaintiff’s lawful charge and Civil Action Complaint with the above

referenced frivolous Complaint.

        Answer: Denied.

        478.    Defendants have forced Plaintiff to retain counsel, spent time and money to

defend this frivolous suit.

        Answer: Denied.




                                                   85
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 86 of 130




       479.   Defendants have retaliated against Plaintiff, Lisa Barbounis in a coordinated

effort designed to effect Plaintiff’s termination from subsequent employment held after

Plaintiff’s constructive discharge from employment with MEF.

       Answer: Denied.

       480.   The campaign of retaliation to which Plaintiff Lisa Barbounis is subjected is

ongoing and continues today.

       Answer: Denied.

       481.   Defendants’ campaign of retaliation is based on Defendants’ refusal to accept

responsibility for lawful claims of sexual harassment and sexual misconduct.

       Answer: Denied.

       482.   Defendants response to valid reports of discrimination and harassment in the

workplace has been a coordinated attack of the same women who were already victimized by

Defendants unlawful discrimination.

       Answer: Denied.

       483.   Accordingly, Defendants have responded to victim of sex and gender

discrimination by victimizing the same women further.

       Answer: Denied.

       484.   Defendants have made false allegations and filed frivolous unfounded lawsuits in

a coordinated and planned effort to force Plaintiff to spent time and money defending these

unlawful actions.

       Answer: Denied.




                                               86
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 87 of 130




        485.    At no time did Defendants initiated a proper investigation to discovery and

remediate the severe and pervasive discrimination and harassment in the workplace.

        Answer: Denied.

        486.    Defendants have manufactured false evidence in their coordinated retaliatory

attack on Plaintiff, Lisa Barbounis.

        Answer: Denied.

        487.    Defendants have engaged in criminal conduct by promising to pay for testimony

in their coordinated retaliatory attack on Plaintiff, Lisa Barbounis.

        Answer: Denied.

        488.    Defendants have provided false and misleading information to potential witnesses

in order to incite retaliatory behavior.

        Answer: Denied.

        489.    Defendants have threatened subsequent additional legal action based on

unfounded allegations without evidence to support the same.

        Answer: Denied.

        490.    Defendants have disparaged Plaintiff, Lisa Barbounis.

        Answer: Denied.

        491.    Defendants have invented a narrative and accused female employees of engaging

in a civil conspiracy.

        Answer: Denied.

        492.    Defendants have accused Plaintiff, Lisa Barbounis of misappropriating MEF

money without any valid evidence to support the frivolous claim.

        Answer: Denied.




                                                 87
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 88 of 130




       493.    Defendants have responded to the civil action complaint and lawsuit by attacking

the victims of Defendant, Greg Roman and Defendant Daniel Pipes discriminatory conduct,

policies, and actions.

       Answer: Denied.

       494.    Defendants have also caused Plaintiff to suffer further emotional distress.

       Answer: Denied.

       495.    As a result of Defendants’ actions, Plaintiff felt extremely humiliated, degraded,

victimized, embarrassed and emotionally distressed.

       Answer: Denied.

       496.    The severe and pervasive discrimination and harassment in the workplace has

caused Plaintiff to suffer an acerbation and aggravation of any preexisting condition involving

emotional distress.

       Answer: Denied.

       497.    As a result of Defendants’ conduct, Plaintiff was caused to sustain serious and

permanent personal injuries, including permanent psychological injuries. As a result of

Defendants’ actions, Plaintiff felt extremely humiliated, degraded, victimized, embarrassed and

emotionally distressed.

       Answer: Denied.

       498.    As a result of the acts and conduct complained of herein, Plaintiff has suffered

and will continue to suffer a loss of income, loss of salary, bonuses, benefits and other

compensation to which such employment entailed.

       Answer: Denied.




                                                 88
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 89 of 130




       499.    Plaintiff also suffered future pecuniary losses, emotional pain, humiliation,

suffering, inconvenience, loss of enjoyment of life, and other non-pecuniary losses.

       Answer: Denied.

       500.    Plaintiff has further experienced severe emotional and physical distress.

       Answer: Denied.

       501.    Plaintiff has suffered from severe emotional distress causes physical

manifestations as a result of Defendants’ unlawful and severe and pervasive conduct and

comments.

       Answer: Denied.

       502.    Any preexisting condition which Plaintiff may have maintained prior to her

employment for Defendant, MEF was acerbated and aggravated by the severe and pervasive

discrimination and harassment in the workplace.

       Answer: Denied.

       503.    As Defendants’ conduct has been malicious, willful, outrageous, and conducted

with full knowledge of the law, Plaintiff demands Punitive Damages as against all the

Defendants, jointly and severally.

       Answer: Denied.

       504.    Defendants have exhibited a pattern and practice of not only discrimination but

also retaliation. At all times material Defendants refused to investigate or take appropriate

remedial action in response to Plaintiffs complaints of discrimination, harassment and hostile

work environment.

       Answer: Denied.




                                                89
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 90 of 130




        505.   Defendants discriminatory conduct was severe and pervasive, and created a

hostile work environment for Plaintiff.

        Answer: Denied. The allegation is as a conclusion of law to which no response is
        required, and it is therefore denied. Furthermore, Defendants deny all allegations
        of discrimination and a hostile work environment.

        506.   The above are just some examples of some of the discrimination and retaliation to

which Defendants subjected Plaintiff.

        Answer: Denied.

        507.   Plaintiff claims a pattern and practice of discrimination, claims continuing

violations, and makes all claims herein under the continuing violations doctrine. Defendants

have exhibited a pattern and practice of not only discrimination but also retaliation.

        Answer: Denied.

                         FIRST CAUSE OF ACTION
                    DISCRIMINATION UNDER TITLE VII
          HOSTILE WORK ENVIRONMENT AND DISPARATE TREATMENT
                        (all corporate Defendants only)

        508.   Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five-hundred-seven (507) as fully as if they were set forth at length.

        Answer: Denied. Defendants incorporate the answers and denials set forth above as
        fully as if they were set forth at length.

        509.   Plaintiffs claim for disparate treatment at this time relates to Plaintiffs

discriminatory pay. Plaintiff was paid less than her male counterparts of the same or similar

work.

        Answer: Denied.




                                                 90
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 91 of 130




       510.    Plaintiff was also constructively discharged, however, Plaintiff will amend her

complaint when Plaintiff receives a second Right to Sue letter from the EEOC, When Plaintiff

filed her first Charge of Discrimination, Plaintiff remained employed with the Middle East

Forum. Accordingly, Plaintiff did not include facts related to Plaintiffs constructive discharge in

her first Charge of Discrimination because it had not yet occurred. Plaintiff has since filed a

second Charge of Discrimination with the EEOC and reserves the right to amend her Complaint

to include an additional disparate treatment claim related to the hostile work environment,

retaliation and Plaintiffs constructive discharge that occurred after Plaintiff filed her first Charge

of Discrimination.

       Answer: Denied. The allegation is as a conclusion of law to which no response is
       required, and it is therefore denied.

       511.    This claim is authorized and instituted pursuant to the provisions of Title VII of

the Civil Rights Act of 1964, 42 U.S.C. § 2000e et. seq., as amended, for relief based upon the

unlawful employment practices of the above-named Defendants. Plaintiff complains of

Defendants’ violation of Title VII’s prohibition against discrimination in employment based, in

whole or in part, upon an employee’s race, color, and/or national origin.

       Answer: Denied. The allegation is as a conclusion of law to which no response is
       required, and it is therefore denied.

       512.    SEC. 2000e-2 [Section 703] states as follows:


               (a)     Employer practices

               It shall be an unlawful employment practice for an employer -
               (1)     to fail or refuse to hire or to discharge an individual, or otherwise to

                       discriminate against any individual with respect to his compensation,




                                                  91
          Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 92 of 130




                        terms, conditions, or privileges of employment, because of such

                        individual’s race, color, religion, sex, or national origin; or

                 (2)    to limit, segregate, or classify his employees or applicants for employment

                        in any way which would deprive or tend to deprive any individual of

                        employment opportunities or otherwise adversely affect his status as an

                        employee, because of such individual’s race, color, religion, sex, or

                        national origin.


          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required, and it is therefore denied.

          513.   Defendants engages in unlawful employment practices prohibited by 42 U.S.C. §

2000e et. seq., by discriminating against Plaintiff because of her sex and gender.

          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required, and it is therefore denied.

          514.   Plaintiff, Lisa Barbounis was subjected to sexual harassment which was severe

and pervasive.

          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required, and it is therefore denied.

          515.   Plaintiff claims that she was subjected to a hostile work environment based upon

the severe and pervasive discrimination and harassment in the workplace.

          Answer: Admitted in part, denied in part. It is admitted that this allegation
          describes Plaintiff’s claims, but Defendants deny liability.

          516.   Plaintiff was also terminated from her employment based upon Plaintiffs sex and

gender.

          Answer: Denied.



                                                  92
          Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 93 of 130




          517.   Defendants engaged in several acts of discrimination and harassment that were so

severe that a single act was sufficient to create a hostile work environment.

          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required, and it is therefore denied.

          518.   Defendants also engaged on ongoing, continuous, daily abuse which was so

pervasive as to create a hostile work environment.

          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required, and it is therefore denied. Defendants deny all allegations of abuse and
          hostile work environment.

                                 SECOND CAUSE OF ACTION
                               RETALIATION UNDER TITLE VII
                               (against corporate Defendants only)

          519.   Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five-hundred-eighteen (518) as fully as if they were set forth at

length.

          Answer: Denied. Defendants incorporate the answers and denials set forth above
          as fully as if they were set forth at length.

          520.   Title VII of the Civil Rights Act of 1962, as amended, 42 U.S.C. § 2000e-3(a)

provides that it shall be unlawful employment practice for an employer: “(1) to...discriminate

against any of his employees... because [s]he has opposed any practice made an unlawful

employment practice by this subchapter, or because [s]he has made a charge, testified, assisted,

or participated in any matter in an investigation, proceeding, or hearing under this subchapter.”

          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required, and it is therefore denied.




                                                  93
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 94 of 130




       521.    Defendants engaged in unlawful employment practices prohibited by 42 U.S.C.

§ 2000e et. seq. by retaliating against Plaintiff with respect to the terms, conditions, and/or

privileges of his employment because of her opposition to and reporting of the unlawful

employment practices of Defendants.

       Answer: Denied. The allegation is as a conclusion of law to which no response is
       required, and it is therefore denied.

       522.    Plaintiff continued to oppose the severe and pervasive discrimination and

harassment in the workplace and even submitted a written statement to report the discrimination

and harassment in the workplace.

       Answer: Denied.

       523.    Defendants refused to investigate Plaintiff s reports of discrimination and

harassment in the workplace.

       Answer: Denied.

       524.    Defendants refused to initiate prompt corrective actions.

       Answer: Denied.

       525.    Accordingly, Defendants permitted, sanctioned, condoned, and allowed the

discrimination and harassment to continue.

       Answer: Denied.

       526.    Any corrective action taken by Defendants was not enforced and Plaintiff was

subjected to a campaign of severe and pervasive retaliation which also created a hostile work

environment.

       Answer: Denied. The allegation is as a conclusion of law to which no response is
       required, and it is therefore denied.




                                                 94
          Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 95 of 130




                             THIRD CAUSE OF ACTION
                    NEGLIGENT HIRING, RETENTION, SUPERVISION
                          (against corporate Defendants only)

          527.   Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five-hundred-twenty-seven (527) as fully as if they were set forth at

length.

          Answer: Denied. Defendants incorporate the answers and denials set forth above
          as fully as if they were set forth at length.

          528.   Pennsylvania recognizes claims for negligent hiring, retention and supervision

when an employer has failed to exercise reasonable care in the selection or training of its

employees.

          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required, and it is therefore denied.

          529.   To maintain such an action, plaintiff must establish all elements of negligence,

including causation.

          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required, and it is therefore denied.

          530.   Plaintiff has indeed established above the elements of negligence. Defendant,

Middle East Forum owed a duty of care to its employees to use such care in the hiring, retention

and supervision of its employees.

          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required, and it is therefore denied.




                                                  95
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 96 of 130




       531.    An employer may be negligent for the failure to exercise reasonable care in

determining an employee’s propensity for violence in an employment situation where the

violence would harm a third person.

       Answer: Denied. The allegation is as a conclusion of law to which no response is
       required, and it is therefore denied.

       532.    In these situations, a plaintiff must establish that the employer breached a duty to

protect others against a risk of harm.

       Answer: Denied. The allegation is as a conclusion of law to which no response is
       required, and it is therefore denied.

       533.    When the plaintiff has no special relationship with the employer (i.e., as in the

case of a stranger), the duty owed may be inferred from the general duty imposed on all persons

not to place others at risk through their actions.

       Answer: Denied. The allegation is as a conclusion of law to which no response is
       required, and it is therefore denied.

       534.    The scope of this duty is limited to those risks that are reasonably foreseeable by

the actor in the circumstances of the case.

       Answer: Denied. The allegation is as a conclusion of law to which no response is
       required, and it is therefore denied.

       535.    Plaintiff has alleged a history of sexual harassment, sexual abuse, and/or sex and

gender discrimination by Defendant, Greg Roman to which the female employees working at the

Middle East Forum have been subjected. Plaintiff has alleged facts that indicate that Defendant,

Middle East Forum had sufficient knowledge to be fully cognizable of the risk of harm that

Defendant, Greg Roman posed to Plaintiff, Lisa Barbounis.

       Answer: Denied. The allegation is as a conclusion of law to which no response is
       required, and it is therefore denied. Defendants deny all allegations of sexual
       harassment, sexual abuse, and/or discrimination.


                                                     96
          Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 97 of 130




          536.   Defendant, Middle East Forum breached its duty of care and this directly caused

the sexual assault of Plaintiff, Lisa Barbounis.

          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required, and it is therefore denied.

          537.   Defendant, Middle East Forum breaches its duty of reasonable care and this

directly led to the severe and pervasive sexual harassment to which Plaintiff, Lisa Barbounis was

subjected by Defendant, Greg Roman.

          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required, and it is therefore denied. Defendants deny all allegations of sexual
          harassment.

          538.   As a result of Defendant, Greg Roman’s conduct, Plaintiff, Lisa Barbounis

suffered a physical injury when Defendant. Greg Roman sexually assaulted Plaintiff

          Answer: Denied. The allegation is a conclusion of law to which no response is
          required, and it is therefore denied. Defendants deny all allegations of sexual
          assault.

                           FOURTH CAUSE OF ACTION
                             DISCRIMINATION UNDER
                  PHILADELPHIA CITY ADMINISTRATIVE ORDINANCE
                            (against all Named Defendants)

          539.   Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five0hundred-thirty-eight (538) as fully as if they were set forth at

length.

          Answer: Denied. Defendants incorporate the answers and denials set forth above
          as fully as if they were set forth at length.

          540.   The Philadelphia Fair Practices Ordinance § 9-1103(1) provides that “It shall be

an unlawful discriminatory practice: “It shall be an unlawful employment practice to deny or

interfere with the employment opportunities of an individuals based upon his or her race,

ethnicity, color, sex (including pregnancy, childbirth, or a related medical condition), sexual


                                                   97
        Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 98 of 130




orientation, gender identity, religion, national origin, ancestry, age, disability, marital status,

familial status, genetic information, or domestic or sexual violence victim status, including but

not limited to the following: (a) For any employer to refuse to hire, discharge, or otherwise

discriminate against any individual, with respect to tenure, promotion, terms conditions, or

privileges of employment or with respect to any matter directly or indirectly related to

employment.”

        Answer: Denied.

        541.    Defendants engaged in an unlawful discriminatory practice in violation of

Philadelphia Fair Practices Ordinance § 9-1103(1) by creating and maintaining discriminatory

working conditions, and otherwise discriminating against Plaintiff because of Plaintiff’s

disability.

        Answer: Denied. The allegation is as a conclusion of law to which no response is
        required, and it is therefore denied.

        542.    Plaintiff hereby makes a claim against Defendants under all of the applicable

paragraphs of Philadelphia Fair Practices Ordinance Chapter 9-1100. Plaintiff claims violations

of the Philadelphia Fair Practice Ordinance due to Defendants’ discrimination against Plaintiff

due to Plaintiff’s sex and gender.

        Answer: Denied.




                                                   98
          Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 99 of 130




                             FIFTH CAUSE OF ACTION
                            RETALIATION UNDER THE
                  PHILADELPHIA CITY ADMINISTRATIVE ORDINANCE
                            (against all named Defendants)

          543.   Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five-hundred-forty-two (542) as fully as if they were set forth at

length.

          Answer: Denied. Defendants incorporate the answers and denials set forth above
          as fully as if they were set forth at length.

          544.   The Philadelphia Fair Practices Ordinance § 9-1103(1)(g) provides that is shall be

unlawful discriminatory practice: “For any person to harass, threaten, harm, damage, or

otherwise penalize, retaliate, or discriminate in any manner against any person because he, she,

or it has complied with the provisions of this Chapter, exercised his, her, or its rights under this

Chapter, enjoyed the benefits of this Chapter, or made a charge, testified, or assisted in any

manner in any investigation, proceeding, or hearing hereunder.”

          Answer: Denied.

          545.   Defendants engaged in an unlawful discriminatory practice in violation of

Philadelphia Fair Practices Ordinance § 9-1103(1)(g) by discriminating against the Plaintiff

because of Plaintiff’s opposition to the unlawful employment practices of Plaintiff’s employer.

          Answer: Denied. The allegation of this paragraph is a conclusion of law to which
          no response is required and it is therefore denied.




                                                  99
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 100 of 130




                            SIXTH CAUSE OF ACTION
                            DISCRIMINATION UNDER
PHILADELPHIA CITY ADMINISTRATIVE ORDINANCE—AIDING AND ABETTING
     (against individual Defendants only and not against corporate Defendants)

          546.   Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five-hundred-forty-five (545) as fully as if they were set forth at

length.

          Answer: Denied. Defendants incorporate the answers and denials set forth above
          as fully as if they were set forth at length.

          547.   The Philadelphia Fair Practices Ordinance § 9-1103(1)(h) provides that it shall be

unlawful discriminatory practice: “For any person to aid, abet, incite, induce, compel or coerce

the doing of any unlawful employment practice or to obstruct or prevent any person from

complying with the provisions of this Section of any order issued hereunder or to attempt

directly or indirectly to commit any act declared by this Section to be an unlawful employment

practice.”

          Answer: Denied.

          548.   Defendants engaged in an unlawful discriminatory practice in violation of

Philadelphia Fair Practices Ordinance § 9-1103(1)(h) by aiding, abetting, inciting, compelling

and coercing the above discriminatory, unlawful, and retaliatory conduct. The individual

Defendants aided and abetting the campaign of discrimination, harassment, and retaliation

against Plaintiff due to Plaintiff’s race, color, and gender and disability and in retaliation for

Plaintiff opposing said discrimination and harassment in the workplace.

          Answer: Denied. The allegation of this paragraph is a conclusion of law to which
          no response is required and it is therefore denied.




                                                 100
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 101 of 130




                               SEVENTH CAUSE OF ACTION
                           DISCRIMINATION UNDER STATE LAW
                              (against corporate Defendants only)

          549.   Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five-hundred-forth-eight (548) as fully as if they were set forth at

length.

          Answer: Denied. Defendants incorporate the answers and denials set forth above
          as fully as if they were set forth at length.

          550.   The PHRA § 955 provides that it shall be an unlawful discriminatory practice:

“(a) For any employment because of the race, color, religious creed, ancestry, age, sex, national

origin, or non-job related handicap or disability or the use of a guide or support animal because

of the blindness, deafness or physical handicap of any individual of independent contractor, to

refuse to hire or employ or contract with, or to bar or to discharge from employment such

individual or independent contractor, or to otherwise discriminate against such individual or

independent contractor with respect to compensation, hire, tenure, terms, conditions or privileges

of employment or contract, if the individual or independent contractor is the best able and most

competent to perform the services required.

          Answer: Denied.

          551.   Defendants engaged in an unlawful discriminatory practice by discriminating

against the Plaintiff because of Plaintiff’s sex and gender.

          Answer: Denied. The allegation of this paragraph is a conclusion of law to which
          no response is required and it is therefore denied.

          552.   Plaintiff hereby makes a claim against Defendants under all of the applicable

paragraphs of the PHRA §955.

          Answer: Denied.




                                                 101
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 102 of 130




                                EIGHTH CAUSE OF ACTION
                             RETALIATION UNDER STATE LAW
                                (against all named Defendants)


          553.   Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five-hundred-fifty-two (552) as fully as if they were set forth at

length.

          Answer: Denied. Defendants incorporate the answers and denials set forth above
          as fully as if they were set forth at length.

          554.   PHRA § 955(d) provides that it shall be an unlawful discriminatory practice: “For

any person, employer, employment agency or labor organization to discriminate in any matter

against any individual because such individual has opposed any practice forbidden by this act, or

because such individual has made a charge, testified or assisted, in any manner, in any

investigation, proceeding, or hearing under this Act.

          Answer: Denied.

          555.   Defendants engaged in an unlawful discriminatory practice by discharging,

retaliating, or otherwise discriminating against the Plaintiff because of Plaintiff’s opposition to

the unlawful employment practices of Plaintiff’s employer. Specifically, Defendants took action

against Plaintiff due to Plaintiff’s opposition to Defendants’ discrimination and harassment of

Plaintiff. Defendants also took action against Plaintiff due to Plaintiff’s involvement in a civil

action lawsuit where, Defendant, Philadelphia Housing Authority was a named Defendant.

Defendants also took action against Plaintiff due to Plaintiff’s ongoing reports of and opposition

to sexual harassment and discrimination based on sex and gender.

          Answer: Denied. The allegation of this paragraph is a conclusion of law to which
          no response is required and it is therefore denied.




                                                 102
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 103 of 130




                                NINHTH CAUSE OF ACTION
            DISCRIMINATION UNDER STATE LAW-AIDING AND ABETTING
           (against individual Defendants only and non against corporate Defendant)


          556.   Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five-hundred-fifty-five (555) as fully as if they were set forth at

length.

          Answer: Denied. Defendants incorporate the answers and denials set forth above
          as fully as if they were set forth at length.

          557.   PHRA § 955(e) provides that it shall be an unlawful discriminatory practice: “For

any person, employer, employment agency, labor organization or employee to aid, abet, incite,

compel, or coerce the doing of any act declared by this section to be an unlawful discriminatory

practice, or to obstruct or prevent any person from complying with the provisions of this act or

any order issued thereunder, or to attempt directly or indirectly, to commit any act declared by

this section to be an unlawful discriminatory practice.”

          Answer: Denied. The allegations is a conclusion of law to which no response is
          required and it is therefore denied.

          558.   Defendants engaged in an unlawful discriminatory practice in violation of PHRA

§ 955(e) by committing assault and battery, aiding, abetting, inciting, compelling and coercing

the discriminatory conduct. Defendants aided and abetted the above discrimination based on

Plaintiff’s sex and gender.

          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required, and it is therefore denied.




                                                 103
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 104 of 130




                                 AFFIRMATIVE DEFENSES

                              FIRST AFFIRMATIVE DEFENSE

       Plaintiff’s Amended Complaint fails, in whole or in part, to state a claim upon which

relief may be granted.



                            SECOND AFFIRMATIVE DEFENSE

       Plaintiff’s claims may be barred in whole or in part by her failure to mitigate damages.




                              THIRD AFFIRMATIVE DEFENSE

       Plaintiff’s claims may be barred in whole or in part by the exclusive remedy provisions of

the Pennsylvania Workers’ Compensation Act.



                            FOURTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred in whole or in part by the doctrine of after-acquired

evidence.



                              FIFTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred in whole or in part because Middle East Forum had in place

at all applicable times a policy prohibiting discrimination, harassment, and retaliation and

exercised reasonable care to prevent and promptly correct any such conduct.




                                                104
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 105 of 130




                               SIXTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred in whole or in part by her unreasonable failure to take

advantage of preventative and corrective opportunities, including those provided under

applicable discrimination, harassment and/or retaliation policies.



                             SEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims may be barred in whole or in part by the doctrines of laches, fraud,

waiver, estoppel, and/or unclean hands.



                              EIGHTH AFFIRMATIVE DEFENSE

       The claims asserted in the Amended Complaint are barred in whole or in part because in

every employment decision challenged herein, Middle East Forum acted based on legitimate,

non-discriminatory, non-retaliatory factors.



                               NINTH AFFIRMATIVE DEFENSE

       Defendants at all times acted in good faith, based upon a reasonable belief that it was in

compliance with all legal requirements.



                              TENTH AFFIRMATIVE DEFENSE

       Some or all of the claims in the Amended Complaint are barred in whole or in part by the

applicable statute of limitations.




                                               105
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 106 of 130




                           ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred in whole or in part because she failed to exhaust

administrative remedies.



                            TWELFTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred in whole or in part by her failure to mitigate her claimed

damages.



                           THIRTEENTH AFFIRMATIVE DEFENSE

       The relief is requested by Plaintiff is barred by the doctrine of unclean hands.



                                 RESERVATION OF RIGHTS

       Defendants have insufficient knowledge or information on which to form a belief as to

whether it may have additional, as yet unstated, defenses available. Defendants reserve the right

to amend or assert additional defenses which may become known during the course of discovery

or revealed during pretrial proceedings.

       WHEREFORE, Defendants respectfully request that this Court grant judgment in

defendants’ favor and against plaintiff on all Counts of the Amended Complaint, and for such

further relief as the Court deems just and proper.




                                                106
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 107 of 130




                     COUNTERCLAIMS AGAINST LISA BARBOUNIS

                                       INTRODUCTION

       Defendant/Counterclaim Plaintiff The Middle East Forum (“MEF”), through its

undersigned counsel, Cozen O’Connor, for MEF’s Counterclaims against Plaintiff Lisa

Barbounis (“Plaintiff,” “Counterclaim Defendant” or “Barbounis”), states as follows

       1.      These Counterclaims are brought to remedy the damage caused by Barbounis

through her planning and execution of a scheme to abandon her duties as an employee and

director of MEF, to illicitly divert MEF funds from their rightful recipients and into the hands of

her paramour, and to cover her tracks with deception and threats.

       2.      As MEF has long suspected, and as the evidence has now revealed, in 2018,

Barbounis, a married woman and mother of young children, hatched a plan to emigrate to the

United Kingdom to start a new life with a man named Daniel Thomas, whom she met through

her work at MEF, and with whom she soon after began a sexual affair.

       3.      Apparently motivated by her desire to move to the United Kingdom and pursue

her relationship with Thomas, Barbounis developed a conspiracy to pay for this scheme by

diverting MEF funds to Thomas, by using MEF funds and resources to travel to the United

Kingdom and Europe to spend time with Thomas, and ultimately, by levying sexual harassment

and assault allegations against MEF and its director, Gregg Roman (“Roman”) in the hopes that

such allegations would lead to a large financial settlement that would fund her new life in the

United Kingdom. See Exhibit A.

       4.      As her relationship with Thomas fell apart and her scheme was at risk of being

revealed to MEF and others, Barbounis resorted to an extended campaign of threats against




                                                107
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 108 of 130




Jazmin Bishop (“Bishop”), Thomas’s girlfriend, fiancée, or wife2 and the mother of his children,

even invoking the power of the office of her current employer, Congressman Randy Weber, in an

effort both to preserve her adulterous relationship with Thomas and to ensure that her illegal

diversion of MEF funds to Thomas would remain hidden.

          5.    Barbounis’ conduct in carrying out her scheme has been both extreme and

outrageous, and the harms that Barbounis has caused MEF and Roman are substantial.

          6.    Having finally uncovered the evidence of Barbounis’ unlawful conduct, MEF

now seeks, through these counterclaims, to begin the process of repairing the damage she has

caused.

                                        BACKGROUND

          A. Barbounis Begins Working For MEF.

          7.    Barbounis began her employment with MEF on or about October 16, 2017.

          8.    She was hired as an Executive Liaison for MEF and continued in that role until

January of 2019.

          9.    From the inception of her employment until November 5, 2018, Barbounis

reported to Defendant Gregg Roman, the Director of MEF.

          10.   Barbounis and Roman quickly developed a friendly working relationship, and

Barbounis liberally shared details of her personal life with Roman, including the most intimate

information about her health, her emotions, her marriage, and her children.

          11.   In March of 2018, Barbounis and Roman travelled to Israel together on MEF

business.




2
 Thomas refers to Bishop alternatively as his girlfriend and fiancée. Thomas’ father, in written
correspondence with Barbounis, refers to Bishop as Thomas’ wife.


                                               108
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 109 of 130




       12.     Barbounis encouraged this intimacy. For example, on March 20, 2018, she wrote

to Roman, “You should feel comfortable telling me when you are upset," and, "Ok. I’m focused

but I want you to know you should feel comfortable telling me when I piss you of. (sic)" See

Exhibit B.

       13.     Barbounis often engaged in playful banter with Roman via text message, often

using flirtatious language and emoticons, and calling him “baby.” Id.

       14.      Barbounis sent Roman sent personal videos of her children crying, she

complained to him about the burdens of being a mother, detailed to him how she despised her in-

laws in Florida, and graphically recounted how she had been domestically abused by her

husband.

       15.     At the same time, MEF and Roman were planning to start a social welfare entity

separate and apart from MEF and shared his plans with Barbounis, who volunteered to assist him

with the founding of this 501(c)(4) organization.

       16.     In response to this offer, on July 12, 2018, Barbounis sent Roman a list of items

that he would need for creating a 501(c)(4) organization.

       17.     On July 26, 2018, Barbounis communicated with Ari Morgenstern, Director of

Communications and Policy for the Christians United for Israel, and informed him of Roman’s

plans to start a new social welfare organization.

       18.     In August 2018, Roman authorized MEF’s attorneys and representatives to speak

with Barbounis about the new organization.

       19.     As a result of her involvement, Barbounis was acutely aware of MEF’s and

Roman’s plans to start a new 501(c)(4) organization, and how important this new organization

was to him.




                                                109
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 110 of 130




       20.       Simultaneously, Barbounis was competing with her coworker, Marnie Meyer, for

status and power within MEF.

       21.       Barbounis complained to Roman when she found out that Meyer might get an

assistant before Barbounis: “Is it the assistant thing? She said you promised her Delaney and she

will be pissed if someone gets an assistant before her. Her and I have been getting along pretty

well, or so I thought, so I'm rather shocked to hear she was shooting down having my role

modified. you are my boss and she is HR. How is it that she gets to make performance

judgments? I know we are a small place but we need structure. I want to make my time here

successful for both me and MEF. I want to live up to my potential. I know you can help me

achieve that. How ‘can we fix this?’”. See Exhibit C.

       22.       Nevertheless, as of September 17, 2018, Barbounis remained confident and secure

in her position with MEF, stating, "...everyone in here loves me, Tricia, Delaney, Matt, Thelma.

Cliff, Sam, and EJ all love me. No one else [other than Marnie Meyer] has a problem with me..."

See Exhibit D.

       23.       At the same time, Barbounis continued to share intimate medical and personal

details about her life with Roman, including information about her various health concerns, and

personal information about children and husband.

       24.       Through October 2018, Barbounis seemed to be happy in her role at MEF and in

her working relationship with Roman, and never indicated to Roman or anyone else at MEF that

she had any problems or issues of any kind with Roman or anyone else at MEF, except Meyer.

       B. Barbounis Meets Daniel Thomas, Begins A Sexual Affair With Him, And
          Hatches A Plan To Emigrate To The United Kingdom Using MEF Funds.

       25.       In May of 2017, MEF began working with Stephen Christopher Yaxley-Lennon,

better known by his alias Tommy Robinson (“Robinson”), a United Kingdom-based activist.



                                               110
         Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 111 of 130




         26.   In the Spring of 2018, Barbounis began working on MEF’s behalf in support of

Robinson.

         27.   Barbounis’ first point of contact was with Daniel Thomas (“Thomas”), another

United Kingdom-based activist, who was organizing a rally to support Robinson.

         28.   At the behest of Barbounis, MEF provided Thomas with US$32,000 (all dollars at

USD) to fund a rally to show support for Robinson, who had recently been jailed for contempt of

court.

         29.   MEF entered into a contract with Thomas that detailed the methods and means by

which MEF’s money would be spent and detailed the specific costs of the rally MEF would be

funding. See Exhibit E.

         30.   On or about June 8, 2018, Barbounis traveled to London with Patricia McNulty,

another MEF employee, to supervise and attend the rally that MEF had funded. See Exhibit F.

         31.   While in London for the rally, Barbounis met Thomas in person for the first time.

         32.   Almost immediately, Barbounis began an adulterous sexual relationship with

Thomas.

         33.   Almost immediately, Barbounis began neglecting her job duties and

responsibilities to MEF as she devoted substantial attention to her sexual relationship with

Thomas.

         34.   At the time of the rally or shortly thereafter, Barbounis became aware that, of the

$32,000 provided to support the Robinson rally, Thomas had misappropriated at least $7,000 for

his own personal use. See Exhibit A.




                                               111
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 112 of 130




        35.     This misappropriation of funds was not authorized or approved by MEF or

Roman, who until 2020 had no idea that it had occurred because Barbounis had effectively

hidden her illegal actions and threatened others who attempted to reveal her misdeeds to MEF.

        36.     Thomas used the money from MEF to help move his family into a newer home in

a nicer area. Id.

        37.     Barbounis repeatedly assured Thomas that she would not tell MEF management

about his misappropriation of funds. Id.

        38.     Despite her position with MEF and her duties to the organization, Barbounis

never told Pipes or Roman that MEF’s monies had been misappropriated.

        39.     Between June 2018 and November of 2018, Barbounis traveled on several

occasions to the United Kingdom to continue her affair with Thomas.

        40.     On information and belief, Barbounis’ trips included but were not limited to a

visit with Thomas in July of 2018.

        41.     Thomas reports that Barbounis showed up “unannounced” in the United Kingdom

to visit him. Id.

        42.     During these visits, Barbounis and Thomas would stay together in the same hotel

room (sometimes unwittingly paid for by MEF), engage in sexual relations, and use illegal drugs.

Id.

        43.     Thomas reports that he and Barbounis would use cocaine “every time I saw her,”

and “every time we were out, she would ask me to get it and we would do cocaine all night.” Id.

        44.     Thomas estimates that he and Barbounis would use “five, six hundred dollars of

cocaine every evening.” Id.




                                               112
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 113 of 130




       45.     Barbounis also sent Thomas money and other resources at various times,

including approximately $1,000 in cash and a credit card that Thomas used to buy Christmas

presents for his children. Id.

       46.     The source of these funds is presently unknown to MEF, but its investigation is

continuing.

       47.     Due to Barbounis’ acute financial problems during this timeframe, including a

six-figure IRS lien, MEF believes it possible that the money Barbounis sent to Thomas belonged

to MEF.

       48.     During this time, Barbounis told Thomas that she was unhappy with her family

life, her husband, and her job, and that she wanted to leave the United States and move to join

him in the United Kingdom. Id.

       49.     Thomas reports that Barbounis confided in him that, to fund her anticipated move

to the United Kingdom, she had concocted a plan to enrich herself illegally at the expense of the

Middle East Forum by asserting that Roman had inappropriately pressured her to engage in

sexual activity with him, and that she would make “loads” from this scheme. Id.

       50.     Thomas reports that Barbounis “wanted to leave her husband” and “come to the

United Kingdom,” buy a home and continue her relationship with Thomas. Id.

       51.     Thomas reports that Barbounis told him, “I’ll say, ‘Gregg’s done this, Gregg’s

done that. And then I’m going to take it to court and get, and they’ll have to pay out. They’ll

pay me loads. They’ll pay me loads, and then I’ll have enough money to do whatever the hell

we want to do.’” Id.

       52.     Thomas told Roman that Barbounis “had it in for you, Gregg. She had it in for

you. From, from the time we ever spoke about you, she wanted your job. And then when she




                                               113
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 114 of 130




realized she couldn’t get the job or something, then she wanted to go down the route of

destroying you, destroying you and making ‘loads’ of money from it. I had many conversations

about that with her, um, over that, so that w- that’s definitely something that was, uh, was

definitely on her, on the plate from very early on from me speaking to her.” Id.

       53.     In October of 2018, Barbounis traveled to Bedford, United Kingdom to attend a

dinner and demonstration to support Robinson. See Exhibit G.

       54.     While in the United Kingdom, Barbounis stayed in a hotel with Thomas and

continued her adulterous sexual affair with him. See Exhibit A.

       55.     Due to her many and protracted trips to the United Kingdom and her relationship

with Thomas, Barbounis’ work performance at MEF began to suffer and her mistakes and errors

increased, including mathematical errors involving seven-figure disparities. See Exhibit H.

       56.     On October 30, 2018, Barbounis and Meyer got into an argument because Meyer,

at Roman’s request, was documenting Barbounis’ work performance failings.

       57.     The following day, Meyer and Barbounis met to discuss these issues and, in

keeping with the scheme she had divulged to Thomas, Barbounis for the first time alleged that

Roman had inappropriately pressured her to engage in sexual activity with him during their trip

to Israel some seven months prior.

       58.     Based in part on Barbounis’ allegation, Meyer prepared a handwritten note to

Daniel Pipes, President of MEF, informing him of alleged issues in the office, including those

raised to Meyer by Barbounis.

       59.     Pipes investigated the allegations raised by Meyer, including those made

indirectly by Barbounis, and called a staff meeting for November 5, 2018.




                                                114
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 115 of 130




       60.     On November 4, 2018, Pipes sent an email to Barbounis stating, “I have

investigated this matter and found the following: You say that Gregg made unwarranted sexual

advances toward you. Gregg maintains that he never made such advances.” See Exhibit I.

       61.     On November 4, 2018, Barbounis responded to Pipes’s email stating that

Roman’s “inappropriate behavior is the least of my concern,” and raised new grievances about

Roman’s “absurd requests, mismanagement, outrageous expectations and demands . . . abusive

tone, language, never-ending lies and manipulation [which] have the entire office in a constant

state of disarray.” See Exhibit J.

       62.     Pursuant to the scheme she had divulged to Thomas, Barbounis informed Pipes

that she desired a change in job duties and that she believed it necessary for Roman to be

removed from his position. Id.

       63.     On November 6, 2018, based in part on Barbounis accusations against Roman,

Pipes set new conditions for Roman’s employment, which included: "No involvement in the

Forum’s accounting, finances, office affairs, personnel issues, and property management. No

authority over the Forum’s administrative staff. No authority to approve expenses of projects or

initiatives. No authority to hire or fire Forum employees, including project directors. No

authority to offer or approve contracts on behalf of the Forum. No authority over Middle East

Forum Education Fund monies. No access to the Forum’s Philadelphia office. No contact with

the Forum’s female employees outside of business hours other than using Forum e-mail. That

means no after-hours telephone calls, texts, other e-mails, social media, drinks, meals, outings,

trips, shared lodgings, and so forth. And during business hours, interactions will be business-

related, within reason." See Exhibit K.




                                                115
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 116 of 130




       64.     Pipes also informed Roman that, based in part on Barbounis’ allegations against

him, he canceled his prior plan for Roman to succeed Pipes as principal and chief executive

officer of MEF in 2019.

       65.     Given his newly diminished role and with MEF authorization, Roman began

making plans to activate the 501(c)(4) organization that he had discussed previously with

Barbounis, and began actively planning and raising money for the new organization.

       C. Barbounis’ Relationships With Thomas Turns Sour.

       66.     On November 23, 2019, Daniel Thomas’s father, Russel Thomas, wrote to

Barbounis aware of the MEF funds and asking her to make this a “regular” payment. See Exhibit

L.

       67.     Russel Thomas wrote: “Daniel has a wife and three children. He is dedicating

himself to the developing [Tommy Robinson] movement but at the financial detriment of his

personal life. I know you have recently financially help him which is much appreciated,

however, Daniel needs, or more importantly his family needs some kind of financial stability.

Would it be possible for you to arrange some form of ‘regular’ financial assistance directly to

Daniel or perhaps his wife?” Id.

       68.     On December 10, 2018, Pipes wrote to Barbounis with a concern that Barbounis

was neglecting her duties to MEF: “I have the sense that your position at MEF is distinctly less

important than your activities with Tommy Robinson. This is not good.” See Exhibit M.

       69.     Pipes added that he was concerned Barbounis had taken a long period off from

work to do work for Robinson without telling Pipes or asking him whether doing so was

permissible. Id.




                                               116
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 117 of 130




       70.     Barbounis acknowledged the validity of Pipes’s concerns: “I can see why you

would feel that way. And all I can do is apologize and do better. The Tommy stuff was

something I was good at. I finally felt like I was contributing. I can see why it looks the way it

does. I guess I got carried away. I thought I was doing the right thing. Certainly wasn’t trying

to neglect MEF or hide things from you.” See Exhibit N.

       71.     Despite the representation that she was not trying “to hide things” from Pipes and

MEF, Barbounis was doing precisely that, as she did not disclose that Thomas had

misappropriated approximately $7,000 USD that MEF provided for the Robinson event.

       72.     Barbounis also consistently disregarded the admonition from Pipes that she focus

on MEF work.

       73.     Barbounis took a trip from January 28 to February 5, 2019 to Brussels, Belgium

to continue her sexual affair with Thomas. See Exhibit O.

       74.     While there, Barbounis stayed with Thomas in a hotel room and engaged in

sexual activity and illegal drug use. See Exhibit A.

       75.     While in Brussels, Thomas told Barbounis that he was suspending or ending their

sexual relationship. Id.

       76.     Barbounis reacted very poorly to Thomas suspending or ending their sexual

relationship and protested vehemently against his decision.

       77.     On February 16, 2019, Thomas wrote Barbounis: “You’re making things very

intense for me right now Lisa, I don’t like the direction all of this is taking. I’ve asked my father

please help me to receive the income I need to do this, I need you to tell me how much money

I’ve taken so I can start making payments to you. I do absolutely appreciate everything you have

done for me Lisa, been my rock at many of times. But I am very stressed at the moment with




                                                117
         Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 118 of 130




everything, I’m shouting at people I shouldn’t that’s just not you. I’m reacting in a way I don’t

feel is right. But I need some space between us for a while. And get things right for the

direction MEF want to take. My whole life is slowly falling apart, it’s time I did something

about it.” See Exhibit P.

         78.   Barbounis refused to accept Thomas’s decision to suspend or end their sexual

relationship and threatened to tell Bishop, Thomas’s girlfriend, fiancée, or wife, about their

affair. See Exhibit A.

         79.   Barbounis would soon make good on this threat.

         80.   On March 7, 2019, Barbounis acknowledged that the money that Thomas had

taken from MEF was misappropriated and threatened to reveal what he had done: “Now that I

know I’m obligated to tell my work [MEF]. What do I do? That’s theft.” See Exhibit Q.

         81.   Despite this knowledge and threat, Barbounis never told MEF about the stolen

funds.

         82.   Instead, Barbounis used her knowledge of the stolen funds as leverage over

Thomas in an effort to force him to continue their sexual relationship. See Exhibit A.

         83.   Barbounis expressly threatened Thomas that, if he refused to continue their sexual

relationship, she would inform MEF about the stolen funds. Id.

         84.   Thomas reports that when he told Barbounis about his intention to end their

sexual relationship, Barbounis replied that “she was somehow going to make it come out and

fuck my life up and get me, uh, you know, using that as a, as a way of trying to keep me in

contact with her.” Id.

         85.   Barbounis’ threats to Thomas were effective, as Thomas relented and allowed

Barbounis to visit him in the United Kingdom once more in Spring of 2019.




                                                118
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 119 of 130




       86.       When asked about this trip, Barbounis told Pipes that her trip to visit Thomas was

actually a vacation with her children. This was a falsehood.

       87.       Meanwhile, Barbounis approached Pipes and requested that Roman be invited to

return to his prior administrative role at MEF, stating that MEF needed Roman’s direction and

leadership moving forward, and that she was impressed with the change in Roman’s behavior.

See Exhibit R.

       88.       After Barbounis’ visit with Thomas in Spring of 2019, Thomas once again

terminated their sexual relationship, thwarting a major component of Barbounis’ plans to move

to the United Kingdom.

       89.       Incensed by Thomas’s decision to end their relationship and instead remain with

Bishop, Barbounis launched an extended campaign of extreme harassment and psychological

abuse directed toward Bishop, the mother of Thomas’s three children. See Exhibit A.

       90.       Barbounis falsely told Bishop that her affair with Thomas was continuing in an

effort to undermine Bishop’s trust in Thomas and her efforts to rebuild their relationship. Id.

       91.       Barbounis made many other harassing and derogatory comments to Bishop in

writing, to embarrass, threaten, ridicule, intimidate, and silence Bishop which include the

following:

                 •      “But you know deep down because you’re a fucking idiot. I’m telling you
                        right now you keep this up you’re gonna lose this one. And I am totally
                        enjoying it.” See Exhibit S.

                 •      “He dogged you to me in texts you read. He slept with me and came
                        home to you. He posted pics of your kids with our songs. And lied to you
                        the WHOLE time. I’m the one who told your everything and you still
                        think I’m the liar. You are totally insane.” Id.

                 •      “I am going to galas with the Vice President today. You think I care about
                        two welfare losers [sic]”. Id.




                                                119
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 120 of 130




               •      “I’ll protect him but don’t want him. I have no relationship with you. The
                      only reason I ever showed you anything in the first place was because I
                      was sick of all the lies. But since you refuse to go anywhere there’s not
                      benefit in that for me. It’s all a cost benefit analysis. And there is no
                      return on my investment from showing you anything.” Id.

               •      “That’s why it’s so funny for me you get all angry and call me all these
                      names but deep down it’s all because you know how awesome I am and it
                      scares you. You see me as a threat to your life. And if you didn’t think
                      that I had any power over you or Danny you wouldn’t be messaging me.”
                      Id.

       92.     The harassment of Bishop by Barbounis also included voice mail messages.

       93.     In voice messages to Bishop, Barbounis said the following, among other things:

               •      “Oh, but I do. I really do, because you were so pathetic and sad, you told
                      me all of it. You poor thing. Have another abortion, you whore
                      [laughter]. See Exhibit T.

               •      “I went to an Ivy League school twice and I work for Congress, she’s
                      plenty proud. You mom’s a junkie that puts fucking drugs up her snatch.
                      What a loser.” Id.

               •      “Ha! Absolutely, positively not. Absolutely not. And I have proof. If he
                      wants to call me, tell him. Because I’m free to ruin both your lives. It’s
                      not a problem for me at all.” Id.

               •      “It’s pathetic. Really is. You can’t stop yourself. No self esteem or self
                      control. No sense of pride or self worth because there is no reason for it.
                      You are trash. [laughing emoji].” Id.

       94.     On April 12, 2019, MEF received negative press coverage in the United Kingdom

as a result of Barbounis’ continuing unauthorized political work with Robinson. See Exhibit U.

       95.     In response, Pipes confronted Barbounis about her political associations and

frequent travel, his concern that she did not clear her continued work for Robinson with him, and

his belief that she was too caught up in and focused on her activities with Robinson at the

expense of her work for MEF. See Exhibit V.




                                               120
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 121 of 130




       96.     Pipes asked that Barbounis not surprise him with her travels and made clear that

he was not convinced that she was focused on the tasks agreed upon in November 2018. Id.

       97.     On May 6, 2019, Bishop, fed up with Barbounis’ harassment and denigration,

wrote to Pipes: “Are you aware that Lisa was and possibly still is having an affair with Danny

[Thomas]? I have all the evidence feel free to ask and I will send it.” See Exhibit W.

       98.     Thomas reports that, around this time, Bishop called Roman and left him a voice

mail on his office machine concerning the affair between Barbounis and Thomas, but Barbounis

intercepted the voice mail message and deleted it before Roman could listen to it. See Exhibit A.

       99.     Despite prior warnings from Pipes, Barbounis continued to work for Robinson,

now out of jail and running for a seat in the European Parliament.

       100.    In May 2019, as a result of her work for Robinson, MEF received significant

news coverage claiming that MEF was “meddling in British/EU politics,” and referring to

Barbounis as a Director of MEF. See Exhibit X.

       101.    An article in the Guardian newspaper on May 17, 2019 spoke of Barbounis in the

Robinson campaign, the author noting, "There has been a more surprising presence at

Robinson’s rallies, however: Lisa Barbounis, a senior executive of the conservative US thinktank

the Middle East Forum, has been a central figure on Robinson’s campaign team and present at

many of his rallies, the Guardian has learned. Her exact role is unclear but Barbounis, who says

she has worked on several Republican campaigns including John McCain’s run for president in

2008, has been on the trail with Robinson for about a fortnight." See Exhibit Y.

       102.    As a 501(c)(3) organization, MEF is subject to strict legal controls concerning its

use of funds and involvement in political activities. Barbounis’ activities with Robinson violated

these controls and threatened to cost MEF its non-profit status.




                                               121
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 122 of 130




       103.    As a result of her actions that jeopardized MEF’s non-profit status, Pipes emailed

Barbounis on May 28, 2019, concerning her poor work performance and political association:

“In my April 16 note to you, I wrote ‘Please don’t surprise me with your travels.’ But then it

turns out the Guardian had a mole who spotted you at three separate Tommy Robinson rallies;

that definitely counts as a surprise. From now on, you need express permission from me before

engaging in MEF travel and you must also clear with me any personal travel that includes a

political agenda.” See Exhibit Z.

       104.    Pipes also reprimanded Barbounis for her continued poor work performance,

including her failure to get articles out on time to MEF subscribers; her failure to improve her

public stature; her failure to improve the composition of MEF’s staff; her failure to increase

publications; her failure to hold monthly conference calls for subscribers; her failure to increase

YouTube videos; and her failure to make weekly reports. Id.

       105.    Barbounis, however, continued to disregard Pipes’ directives.

       106.    On June 5, 2019, Pipes again wrote to Barbounis: “The Guardian article from

May 17 has a long, insinuating paragraph about you along with a picture of you. The clear

implication is that MEF supports Tommy Robinson's campaign. This rates as both a surprise and

an unwelcome complication. The article could entirely disappear but it could also pop up in the

future and make trouble for us. I do not want potential trouble hanging over us, so am displeased.

You and I have already discussed the matter of your affiliating MEF too closely with Tommy

Robinson and we reached an informal agreement that you would stay away from his efforts.

Given this development, I am now imposing a formal limitation on you: No campaign work,

even during your private time, without clearance from me.” See Exhibit AA.




                                                122
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 123 of 130




       107.    Two days after receiving this admonishment, Barbounis filed an Charge of

Discrimination against MEF with the Equal Employment Opportunity Commission.

       108.    Disregarding Pipes’ clear instructions, on July 1, 2019, Barbounis appeared in a

press release concerning Robinson’s political campaign. The press release included full contact

information for Barbounis. See Exhibit BB.

       109.    On July 16, 2019, Barbounis again ignored Pipes’ instructions and used MEF

resources to send out political communications in her role as “Director of Communications” for

TR.News, where TR stands for Tommy Robinson. See Exhibit CC.

       110.    On July 24, 2019, Barbounis completed an application and submitted her resume

for a job with the United States Congress. As part of her application, Barbounis knowingly and

falsely stated that, "Since entering my role as Director of Communication for the Middle East

Forum I have increased our social media engagement by 32%. From June 2018 through June

2019, I helped place 1,128 articles by 56 experts in 97 outlets, from D.C.'s influential The Hill to

the Wall Street Journal, from The Washington Times to Foreign Policy. Additionally, I arranged

for 27 of our experts to be interviewed 92 times by 81 media outlets on both radio and television

ranging from outlets like I24 News and Al Jazeera to Fox News." See Exhibit DD.

       111.    To give one example of the falsehood: all the articles in the Wall Street Journal,

The Washington Times, and Foreign Policy were arranged without any involvement by

Barbounis.

       112.    Despite these false representations, Barbounis submitted her application and

certified “that all of the foregoing information that I supplied in this submission form and resume

is correct and complete. I UNDERSTAND THAT ANY FALSIFICATION OR OMISSION OF

ANY INFORMATION CONSTITUTES GROUNDS FOR ANY HOUSE OF




                                                123
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 124 of 130




REPRESENTATIVES EMPLOYER TO NOT EMPLOY ME OR TO DISMISS ME FROM

EMPLOYMENT." Id.

       113.   Upon information and belief, based on these representations, Barbounis secured

employment as Director of Communications in the United States House of Representatives for

Congressman Randy Weber.

       114.   On August 7, 2019, Barbounis resigned from MEF to accept this position.

       115.   Upon information and belief, her work in support of Robinson continues to this

day.

       116.   Thomas reports that Barbounis used her position in the House of Representatives

in October of 2019 to threaten Bishop and Thomas, including statements that she attended events

with the Vice President of the United States, was now “in a position of power” and asking, “Do

you know who I work for?” See Exhibit A.

       117.   Upon information and belief, Barbounis used her position as Director of

Communications for a member of the House of Representatives to induce fear in Thomas and

Bishop in an effort to induce Thomas to continue their relationship and to prevent Thomas or

Bishop from notifying MEF about the funds misappropriated by Thomas with Barbounis’

knowledge.

       118.   On September 24, 2019, Matthew Ebert, boyfriend of Marnie Meyer, called

Roman via an unlisted, private number as an “anonymous source” with the stated intention of

“blowing the lid off an employment litigation action by former employees” of MEF. See Exhibit

EE.




                                              124
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 125 of 130




       119.    Ebert told Roman that the women involved in the lawsuit are all “banking on a

large settlement,” and that the other women involved had questioned Barbounis’ motivations for

suing. Id.

       120.    The following day, Ebert called Roman ten times to convey the same message,

which aligns in all significant detail with what Thomas has independently reported to MEF.

       121.    Although neither MEF or Roman knew the identity of the caller at the time the

calls were placed, Ebert has since admitted in testimony under oath that he placed the calls to

Roman. See Exhibit FF.

       122.    On October 27, 2019, Barbounis filed the instant lawsuit which, on information

and belief, was based on her plan, as divulged to Thomas, to bring false allegations against MEF

and Roman for the purpose of obtaining a monetary settlement to fund her move to the United

Kingdom.

       123.    The allegations in Barbounis’ complaint are substantially similar to those she told

Thomas that she planned to make up against MEF and Roman.

       124.    Subsequent to her resignation from MEF, MEF discovered that Barbounis had

misappropriated MEF trade secrets, which is the subject of a separate lawsuit.

       125.    On July 17, 2020, Thomas provided MEF with records of Barbounis’ travel to

Europe, which aligned with the previous information that he had provided. See Exhibit GG.

       126.    On July 18, 2020 Thomas agreed to provide his phones to a third-party electronic

discovery vendor for imaging, searching and review because, according to Thomas, the phones

contained information relevant to MEF’s claims and defenses. See Exhibit HH.

       127.    Thomas also agreed to sit for a deposition voluntarily, and to answer any

questions posed to him under oath.




                                               125
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 126 of 130




          128.   Two days later, after the electronic discovery vendor had arranged for pickup of

Thomas’ devices and in the midst of a discussion of about how to secure pickup on Thomas’

phones, Thomas abruptly cut off contact with MEF without explanation, stating, “I’m sorry I

can’t tell you why but I can’t be involved in this anymore. Please don’t contact me again!” Id.

          129.   Less than an hour later, Barbounis’ counsel baselessly accused Roman of

attempting to manufacture evidence.

          130.   MEF is currently attempting to ascertain the reason for Thomas’ abrupt and

unexplained decision to cut off communication and to rescind his agreement to sit for deposition

and provide documents.

                                   COUNTERCLAIM COUNT I
                                    Breach of Duty of Loyalty

          131.   MEF repeats and realleges each of the previous paragraphs as if set forth fully

herein.

          132.   As an employee and director of MEF, Barbounis had a fiduciary duty to MEF.

          133.   As such, and as an employee and director of MEF, Barbounis also had duty to act

in good faith an solely for the benefit of MEF in all matters for which she was employed.

          134.   As set forth in detail above, Barbounis intentionally failed to act in good faith and

solely for the benefit of MEF in all matters for which she was employed in numerous ways, but

specifically by failing to disclose to MEF that Thomas had misappropriated MEF funds in breach

of a contract with MEF, and by carrying out political activities on behalf of Robinson and others

on MEF’s time and using MEF resources.

          135.   Barbounis’ failure to act solely for MEF’s benefit was a real factor in injuries to

MEF, including a loss of its resources resulting from Thomas’s misappropriation of MEF funds

and a loss of its resources resulting from MEF paying Barbounis’ salary while Barbounis was



                                                  126
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 127 of 130




working not for MEF but for other individuals and entities and traveling using MEF’s monies on

false pretenses.

          136.   Barbounis’ actions in breaching her duty of loyalty to MEF were knowing and

intentional.

          137.   Barbounis’ actions in breaching her duty of loyalty to MEF were extreme,

outrageous, and shocking to the conscience of a reasonable person.

          138.   MEF suffered actual damages as a result of Barbounis’ breaches of her duty of

loyalty to MEF.

          139.   MEF is entitled to punitive damages as a result of Barbounis’ breaches of her duty

of loyalty.

                                  COUNTERCLAIM COUNT II
                                      Civil Conspiracy

          140.   MEF repeats and realleges each of the previous paragraphs as if set forth fully

herein.

          141.   Barbounis conspired with Thomas and, upon information and belief, other persons

or entities, to deprive MEF of the benefit of its funds.

          142.   Barbounis and her co-conspirators acted with a common purpose to

misappropriate and conceal the misappropriation of MEF funds designated for a specific

purpose.

          143.   Specifically, Barbounis and her co-conspirators conspired to facilitate and conceal

the misappropriation of MEF funds by Thomas for improper and unlawful personal use.

          144.   Barbounis committed overt acts in pursuance of this common purpose, including

making misrepresentations to MEF concerning the misappropriation of funds, facilitating




                                                 127
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 128 of 130




Thomas’ misappropriation of those funds, and assisting Thomas in concealing the

misappropriation of those funds from MEF.

          145.   As a result of Barbounis’ actions, MEF suffered actual legal damage, including

but not limited to the loss of the funds misappropriated, the loss of the benefit of the funds which

were issued for a designated purpose, and the loss of the benefit of its contract with Thomas

concerning the use of the funds.

          146.   As set forth above, Barbounis and Thomas acted in concert to plot, plan and

conspire to carry out the above-described misappropriation.

          147.   Barbounis’ actions in breaching conspiring with Thomas and others were, by her

own admission, knowing and intentional.

          148.   Barbounis’ actions in conspiring with Thomas and others were extreme,

outrageous and shocking to the conscience of a reasonable person.

          149.   MEF is entitled to punitive damages as a result of Barbounis’ actions in

furtherance of the conspiracy.

                                 COUNTERCLAIM COUNT III
                                  Fraudulent Misrepresentation

          150.   MEF repeats and realleges each of the previous paragraphs as if set forth fully

herein.

          151.   Barbounis misrepresented to MEF that her trip to the United Kingdom in Spring

of 2019 was a family vacation with her children.

          152.   In actuality, as MEF only recently discovered, Barbounis traveled to the United

Kingdom to continue her sexual affair with Thomas.

          153.   In making this false misrepresentation, Barbounis intended that MEF would act to

maintain her employment status, job duties, and compensation with MEF.



                                                 128
       Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 129 of 130




          154.   Barbounis’ misrepresentation was intentional and fraudulent in nature.

          155.   As Barbounis’ employer, MEF was justified in relying on the misrepresentation

by Barbounis.

          156.   MEF suffered actual damages as a proximate result of its reliance on Barbounis’

fraudulent misrepresentation, including but not limited to loss of monies paid to Barbounis as a

faithless servant.


                                    REQUEST FOR RELIEF

          WHEREFORE, having alleged these Counterclaims against Barbounis, MEF requests

that the Court award the following relief:

                 (a)    An award of damages to MEF to be proven at trial in an amount in excess

of $50,000.00, together with all costs, interest and reasonable attorney’s fees;


                 (b)    An award of punitive damages to MEF


                 (c)    An award of such other and further relief as this Court deems just and

proper.

                                              Respectfully submitted,

Dated: September 16, 2020                     COZEN O’CONNOR

                                              s/David J. Walton
                                              David J. Walton (PA#86019)
                                              Leigh Ann Benson (PA #319406)
                                              Cozen O’Connor
                                              1650 Market Street, Suite 2800
                                              Philadelphia, PA 19103
                                              P: (215) 665-2000

                                              Attorneys for Defendants
                                              The Middle East Forum, Daniel Pipes, Gregg
                                              Roman, and Matthew Bennett



                                                129
      Case 2:19-cv-05030-JDW Document 53 Filed 09/16/20 Page 130 of 130




                              CERTIFICATE OF SERVICE

  I hereby certify that I served upon Seth Carson, Esq. a true and correct copy of the within
Answer to Plaintiff’s Consolidated Complaint with Affirmative Defenses and Counterclaims via
                                          ECF filing.




                                          /s/ David J. Walton
                                          David J. Walton, Esquire

                                          COZEN O’CONNOR

                                          Attorney for Defendants,
                                          The Middle East Forum, Daniel Pipes, Gregg
                                          Roman, and Matthew Bennett

Dated: September 16, 2020




                                            130
